MGMOSTIMTN 20080174 7012-081

Case:20-01947-jwb Doc #:327-3 Filed: 09/23/2020

$610 Byron Centar Ave. SY
Wyoming, Ml 49519

 

: Return Service Requested
Mercantile ag
Back of Michigan ie O7O01

HOPCAT - KALAMAZOO, LLC
‘35 OAKES ST SW STE 400
GRAND RAPIDS, MI 49503

Bhi satelite hod adh an a hs ACCOUNT

6/30/20 . 07/31/20

Page:

Page 1 of 71

fot4

Statement Date: 07/31/2020
Primary Account: XXXXXX9227

Documents:

0

Period: 06/30/20 to 07/31/20

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Account: XXXXXX9227F

424,080.72 (106)

 

124,080.72 (48)

 

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Description

Comb. Dep. Worldpay Worldpay Comb. Dep. Term
Doordash, Inc. 300 East W St-S8n2f/w6o7as

Doordash, Inc. 300 East W St-R7b9x3c9i2a4

Doordash, Inc. 300 East W St-Yép4s4x0s0mé

Comb. Dep. Worldpay Worldpay Comb. Dep. Term
Transfer From Com! Analysis Ck Account [4777

Comb. Dep. Worldpay Worldpay Comb. Dep. Term [I
American Express Settlernent XXXXXX0285

Comb. Dep. Worldpay Worldpay Comb. Dep. Term
Posimates Inc. 1160 Jun 2 St-LSo8f6rSiav3

American Express Settlement XXXXXX0286

Comb. Dep. Worldpay Worldpay Comb. Dep. Term

Comb. Dep. Worldpay Worldpay Comb. Dep. Term

Postmates Inc. 1160 Jul 7 St-T3z8wGqid5i0

Comb. Dep. Worldpay Worldpay Comb. Dep. Term
Boordash, Inc. 300 East W SCE3/Sféex9i7h4

American Express Settlement XXXXXX0286

Comb. Dep. Woridpay Worldpay Comb. Dep. Terry
Postmates Inc. 1160 Jul & St-Mapeiiddots8

Doordash, Inc. 300 East W St-Laz4r4y0b6s0

Armerican Express Settlement XXXXXX0286

Comb. Dep. Worldpay Worldpay Comb. Dep. Term

Camb. Dep. Worldpay Worldpay Comb. Dep. Term

Postmates Inc. 1160 Jul 1 St-PShibonaw9fs

American Express Settlement XXXXXxX0286

Comb. Dep. Worldpay Worldpay Cornb. Dep. Term

Comb. Dep. Worldpay Worldpay Comb. Dep. torn
Doordash, Inc. 300 East W St-J4b926k3n196

Comb. Dep. Worldpay Worldpay Comb. Dep. Tern
American Express Settlement XXXXXX0286

Comb. Dep. Worldpay Worldpay Comb. Dep. Term
Camb. Dep. Worldpay Worldpay Comb. Dep. Term
Camb. Dep. Worldpay Worldpay Comb. Dep. Term

   

Amount
447.89
701.85
266.73

28.42
449,40
625.58

1,484.96

§2.22

2,335.96

25.46
104.59
144.70

3,146.04

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230.40

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Case:20-01947-jwb Doc #:327-3 Filed: 09/23/2020

HOPUAT - KALAMAZOO, LLC
35 OAKES ST SW STE 400
GRAND RAP DS, Mi 40503

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Description
American Express Settlement XXXXXX0286

Doordash, inc. 300 East W St-RSd6b3u8kea4

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Posimates Inc. 1460 Jul 1 St-MSforduSmdcO

American Express Settiernent XXXXXXO286

Comb. Dep. Worldpay Worldpay Camb. Dep. Term (
Doordash, inc. 300 East W St-FSnod0y0b4o7

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Posimates inc. 1160 Jul 1 SE-V7y7ebu7g7x5

American Express Settlement XXXXXxX0286

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Doordash, Inc. 300 East W St-BSq0d00815b8

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Comb. Dep. Worldpay Worldpay Comb. Dep. Term
American Express Settlement XXXXXX0286
Doordash, Inc. 300 East W St-Z6t3sisg2i7p0

Comb. Dep. Worldpay Worldpay Comb. Dep. Term [i
Postmates inc. 1166 Jul 1 St-O6r1jOy7k5x9

Comb. Dep. Warldpay Worldpay Comb. Dep. Term
Postmates inc. 1160 Jul 1 St-L7p4fSz1i2j5

American Express Settlement XXXXXxX0286

Doordash, Inc. 300 East W St-Kivof?bdwiad

Comb. Dep. Worldpay Worldpay Comb. Dep. Term
American Express Settlement XXXXXX0286
Comb. Dep. Worldpay Worldpay Carnb. Dep. Term
Comb. Dep. Worldpay Worldpay Comb. Dep. Term
Comb. Dep. Worldpay Worldpay Comb. Dep. Term
Comb. Dep. Worldpay Worldpay Camb. Dep. Term
Doordash, Inc. 300 East W St-YOh3g8y0r0bO
American Express Settlernent XXXXXX0286
Comb. Dep. Worldpay Worldpay Comb. Dep. Term

Comb. Dep. Worldpay Worldpay Comb. Dep. Term

lrriperial Beverag Fintecheft XX-XxXx8992

Postmates inc. 1160 Jul 1 St-S8yOc7r7v8x5

American Express Settlement XXXXXX0286

Postmates inc. 1160 Jul 2 St-Coudt7haitja

Doordash, inc. 300 East W St-Y4r}izités9

Comb. Dep. Worldpay Worldpay Comb. Dep. Term

Comb. Dep. Worldpay Worldpay Comb. Dep. Term

Postmates inc. 1160 Jul 2 SHANG fSc4xip2e7

Comb. Dep. Worldpay Worldpay Comb. Dep. Term |
American Express Settlement XXXXXX0286

Doordash, Inc. 300 East W SLC tedadndh6r4

Corb, Dep. Worldpay Worldpay Comb. Dep. Term
Henry A. Fox Sal Fintecheft XX-Xxxag92

American Express Settlement XXXXXX0286

Comb. Dep. Worldpay Worldpay Comb. Dep. Term
Doordash, Inc. 300 East W St-F4adSg2p7h9j8

Grudhub inc Jul Acivty 20072422ntbneSr

Comb. Dep. Worldpay Worldpay Comb. Dep. Term
Postmates Inc. 1160 Jul 2 StUSs 1n7tHOls

Postmates inc. 1160 Jul 2 St-S4q6s6q1j2j6

Posimates Inc. 1160 Jul 2 St-T9jSeiadléni

American Express Settlement XXXXXX0286

Comb. Dep. Worldpay Worldpay Comb. Dep. Term

Comb. Dep. Worldpay Worldpay Comb. Dep. Term

Doordash, Inc. 300 East W St-L504x6s7s5e8

Comb. Dep. Worldpay Worldpay Comb. Dep. Term

 
  
  
 
 

Page 2 of 71

Page: 20f 4
Statement Date: 07/34/2020
Primary Account: XXXXXX9227

  

Amount
67.71
827.27
1,083.25
3,286.26
86.90
93.46
248.95
347.41
3,825.88
20.38
413.46
278.06
525.08
2,149.35
489.23
259.26
422.74
3,820.18
10.56
73.21
80.18
403.37
225.82
279.81
378.99
381.71
4511.70
5,327.49
5,347.63
560.18
660.48
679.08
3,650.94
15.00
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62.10
68.75
189.46
223.68
4,064.73
61.34
196.05
309.76
442.09
4251.77
36.06
316.02
319.87
808.56
1,664.23
3,705.25
15.89
23.62
62.360
446.06
293.06
318.83
392,37
408.91
MGMCSTMTN 200801 -17518-0003

 

Case:20-01947-jwb Doc #:327-3 Filed: 09/23/2020 Page 3 of 71

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GRAND RAP DS, Ml 49603 Statement Date: 07/31/2020
Primary Account: XXXXXX9227

 
   

 
  
  
 
 

 
  

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Date Description Amount
07/27 American Express Settlement XXXXXX0286 878.47
07/27 Comb. Dep. Worldpay Worldpay Comb. Dep. Term 5,732.87
07/27 Comb. Dep. Worldpay Worldpay Comb. Dep. Term 7,886.69
07/28 Comb. Dep. Worldpay Worldpay Comb. Dep. Term 123.92
07/28 Comb. Dep. Worldpay Worldpay Comb. Dep. Term 377.55
07/28 Doordash, Inc. 300 East W St-H3m8y6e0m1k6 1,015.07
07/29 Doordash, Inc. 300 East W St-LS5a2r6c2d4k9 557.11
07/29 Comb. Dep. Worldpay Worldpay Comb. Dep. Term 3,402.25
07/30 Comb. Dep. Worldpay Worldpay Comb. Dep. , 187.47
07/30 Doordash, Inc. 300 East W St-R4I2c0b5e5g9 596.27
- 07/30 Comb. Dep. Worldpay Worldpay Comb. Dep. Term 3,016.05
07/31 Comb. Dep. Worldpay Worldpay Comb. Dep. Term 367.26
07/31 Grubhub Inc Jul Actvty 20073129ntbne5r 454.12
07/31 Comb. Dep. Worldpay Worldpay Comb. Dep. Term 4,000.53

 

Date Check No Amount Date Check No Amount Date Check No Amount

 

 

07/27 10041 7,733.92

* Indicates a Gap in Check Number Sequence

 
   

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Date Description Amount
07/01 Transfer To Com! Analysis Ck Account 4777 447.89
07/02 M4 C.i.c, Llc Fintecheft XX-xXxX8992 105.00
07/02 Transfer To Coml Analysis Ck Account 4777 596.85
07/03 Transfer To Comi Analysis Ck Account 4777 205.73
07/06 Alliance Beverag Fintecheft XX-XXX8992 188.00
07/06 Mihchgs Worldpay Merch Bankcard Hopcat Kalamazoo 2 - Ecom 306.91

07/06 Mihchgs Worldpay Merch Bankcard Hopcat - Kalamazoo 2,063.45
07/07 I.h.s. Dist. Co. Fintecheft XX-XXX8992 , 313.00
07/07 Transfer To Coml Analysis Ck Account 4777 2,075.18
07/08 State Of Michnws Liquorsale #xxxxx0629 214.11

07/08 Imperial Beverag Fintecheft XX-XXX8992 1,363.65
07/08 Transfer To Com! Analysis Ck Account 4777 1,841.97
07/09 Fintech.net Fintecheft XX-XXX8992 37.32
07/09 Olo - Help@olo.c Purchase Denise Willison 230.00
07/09 Transfer To Com! Analysis Ck Account A777 2,777.89
07/10 Transfer To Coml Analysis Ck Account 4777 3,802.26

07/13 Transfer To Comi Analysis Ck Account 4777 20,816.67
07/14 Transfer To Comi Analysis Ck Account 4777 5,204.49
07/15 Commercial Service Charge 30.22
07/15 Transfer To Com! Analysis Ck Account [4777 4,572.38
07/16 Imperial Beverag Fintecheft XX-XXX8992 249.00
07/16 Transfer To Coml Analysis Ck Account 4777 2,838.28
07/17 Henry A. Fox Sal Fintecheft XX-XxXX8992 144.00
07/17 Transfer To Coml Analysis Ck Account 4777 4,347.41

07/20 Alliance Beverag Fintecheft XX-XXX8992 237.60
07/20 Positive Solutio Support 573.50
07/20 Transfer To Coml Analysis Ck Account (4777 15,909.07
07/21 West Side Beer D Fintecheft XX-XXX8992 278.00
07/21 Red Tap Draught Sale . 875.00
07/21 Transfer To Com! Analysis Ck Account 4777 4,397.65
07/22 Transfer To Com! Analysis Ck Account A777 4,649.16
07/23 |.h.s. Dist. Co. Fintecheft XX-XXX8992 68.00
07/23 West Side Beer D Fintecheft XX-XXX8992 239.00

07/23 Imperial Beverag Fintecheft XX-XXX8992 258.05
MGMCSTMTN 200801-17518-0004

Case:20-01947-jwb Doc #:327-3 Filed: 09/23/2020 Page 4of 71

HOPCAT - KALAMAZOO, LLC Page: 4of4
ORAND RAP De M208 Statement Date: 07/31/2020

Primary Account: XXXXXX9227

 

 
 
  

 

Date Description Amount

   
   
 
     
 
  

07/23 Transfer To Comi Analysis Ck Account 4777 4,714.93
07/24 Transfer To Comi Analysis Ck Account A777 6,849.73
07/27 Alliance Beverag Fintecheft Xx-xxx8992 467.00
07/27 Transfer.To.;Comi Analysis Ck Account 4777 7,960.85
07/28 Transfer To Comi Analysis Ck Account 4777 1,516.54
07/29 State Of Michnws Liquorsale #xxxxx6394 , 161.18
07/29 Transfer To Com Analysis Ck Account [4777 3,798.18
07/30 Mé C.ji.c, Lic Fintecheft XX-XXX8992 170.00
07/30 State Of Michgw! Liquorsale #xxxxx0258 173.34
07/30 Transfer To Comi Analysis Ck Account 4777 3,456.45
07/31 Restaurant Equip Cons Coll 439.90
07/31 Imperial Beverag Fintecheft XX-XXX8992 961.05
07/31 Transfer To Coml Analysis Ck Account [4777 3,420.96

 
      

Balance
Case:20-01947-jwb Doc #:327-3 Filed: 09/23/2020 Page 5of 71

   

 

 

‘Statement Ending Balance : —— . 0.00

Deposits in Transit 19,634.31

Outstanding Checks and Charges 0.00

Adjusted Bank Balance 19,634.31.

Book Balance / 19,634.31

Adjustments* 0.00

Adjusted Book Balance 79,634.31
Total Checks and Charges Cleared 138,987.64 Total Deposits Cleared 138,987.64

Deposits

General Ledger Entry AMEX 06/20/2020 703,00

General Ledger Entry AMEX © 06/25/2020 485.94

General Ledger Entry , WORLD PAY - OLO TENDER 06/25/2020 229.24

General Ledger Entry WORLDPAY 06/26/2020 5,534.77

General Ledger Entry WORLD PAY - OLO TENDER 06/26/2020 1,025.09

General Ledger Entry AMEX 06/26/2020 398.21

General Ledger Entry WORLD PAY - OLO AMEX 06/27/2020 112.89

General Ledger Entry WORLD PAY - OLO TENDER 06/27/2020 627.30

General Ledger Entry WORLDPAY 06/27/2020 3,748.16

General Ledger Entry AMEX 06/27/2020 123.09

Genera! Ledger Entry WORLD PAY - OLO TENDER : 06/28/2020 447.89

General Ledger Entry AMEX 06/28/2020 16.00

General Ledger Entry WORLDPAY 06/28/2020 271.06

General Ledger Entry DoorDash Sales HCKZ 6.29.20 06/29/2020 316.84

General Ledger Entry Unknown AMEX Variance HCKZ 06/30/2020 eft 5.88

General Ledger Entry Unknown AMEX Variance HCKZ 06/30/2020 eft 0.49

General Ledger Entry Postmates Sales HCKZ 6.30.20 06/30/2020 378.89

General Ledger Entry DoorDash Sales HCKZ 6,30.20 06/30/2020 980.56

General Ledger Entry Unknown AMEX Variance HCKZ 07/01/2020 eft 2.46

General Ledger Entry WORLD PAY - OLO TENDER 07/01/2020 29.95

Generali Ledger Entry DoorDash Sales HCKZ 7.02.20 07/02/2020 701.85

General Ledger Entry WORLD PAY - OLO TENDER 07/03/2020 9.54

General Ledger Entry DoorDash Sales HCKZ 7.03.20 07/03/2020 205.73 ~
Case:20-01947-jwbo Doc #:327-3

General Ledger Entry
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WORLD PAY - OLO TENDER
AMEX

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DoorDash Sales HCKZ 7.06.20
AMEX

WORLD PAY - OLO TENDER
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WORLD PAY - OLO TENDER
WORLD PAY - OLO TENDER
AMEX

Postmates Sales HCKZ 7.08.20
WORLDPAY

DoorDash Sales HCKZ 7.09.20
Postmates Sales HCKZ 7.09.20
AMEX

WORLD PAY - OLO TENDER
WORLDPAY

DoorDash Sales HCKZ 7.10.20
Postmates Sales HCKZ 7.10.20
AMEX

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WORLD PAY - OLO TENDER
Unknown AMEX Variance HCKZ
Unknown AMEX Variance HCKZ
WORLD PAY - OLO TENDER
AMEX

Postmates Sales HCKZ 7.13.20
WORLDPAY

DoorDash Sales HCKZ 7.13.20
WORLD PAY - OLO TENDER
WORLDPAY

DoorDash Sales HCKZ 7.14.20

Filed: 09/23/2020 Page 6 of 71

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Case:20-01947-jwbo Doc #:327-3

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DoorDash Sales HCKZ 7,15.20
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WORLD PAY - OLO TENDER
Postmates Sales HCKZ 7.15.20
AMEX

Postmates Sales HCKZ 7.16.20
DoorDash Sales HCKZ 7.16.20
WORLD PAY - OLO TENDER
WORLDPAY

AMEX

Unknown WORLDPAY Variance HCKZ
WORLD PAY - OLO TENDER
DoorDash Sales HCKZ 7.17.20
WORLDPAY

AMEX

WORLD PAY - OLO TENDER
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AMEX

Unknown AMEX Variance HCKZ
WORLD PAY - OLO TENDER
Postmates Sales HCKZ 7.20.20
WORLDPAY

DoorDash Sales HCKZ 7.20.20
Postmates Sales HCKZ 7.20.20
AMEX

WORLDPAY

WORLD PAY ~- OLO TENDER
AMEX

DoorDash Sales HCKZ 7.21.20
Unknown AMEX Variance HCKZ
Postmates Sales HCKZ 7.22.20
Postmates Sales HCKZ 7.22.20
AMEX

WORLD PAY - OLO TENDER
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Imperial I HCKZ
DoorDash Sales HCKZ 7.22.20
WORLD PAY - OLO AMEX
WORLD PAY - OLO TENDER

Postmates Sales HCKZ 7.23.20

Filed: 09/23/2020 Page 7 of 71

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Case:20-01947-jwb Doc #:327-3

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Total Deposits

   

General Ledger Entry

Checks and Charges

DoorDash Sales HCKZ 7.23.20
AMEX

WORLDPAY

AMEX

WORLDPAY

WORLD PAY ~ OLO TENDER
DoorDash Sales HCKZ 7.24.20
GRUBHUB Sales HCKZ 7.24.20
Henry Fox BMJHCKZ
AMEX

WORLD PAY - OLO AMEX
WORLD PAY - OLO TENDER
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WORLD PAY - OLO TENDER
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DoorDash Sales HCKZ 7.27.20
Postmates Sales HCKZ 7.27.20
Postmates Sales HCKZ 7.27.20
WORLD PAY - OLO TENDER
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DoorDash Sales HCKZ 7.28.20
WORLD PAY - OLO TENDER
DoorDash Sales HCKZ 7.29.20
WORLDPAY

Postmates Sales HCKZ 7.29.20
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WORLD PAY - OLO TENDER
DoorDash Sales HCKZ 7.30.20
GRUBHUB Sales HCKZ 7.31.20
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WORLD PAY - OLO TENDER
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WORLD PAY - OLO TENDER

Interco CASH

Filed: 09/23/2020 Page 8 of 71

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Case:20-01947-jwb Doc #:327-3 Filed: 09/23/2020 Page 9 of 71

General Ledger Entry
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Unknown WORLDPAY Variance HCKZ
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Alliance Beverage Distributing LLC

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General Ledger Entry
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State of Michigan - MLCC

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Henry A. Fox Sales Co.

General Ledger Entry

WorldPay Monthly Charges - P7 2020
Interco CASH
WorldPay Monthly Charges - P7 2020

Unknown WORLDPAY Variance HCKZ

Interco CASH

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Unknown AMEX Variance HCKZ
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Mercantile Monthly Bank Charges - P7 2020

Interco CASH

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Interco CASH

Unknown AMEX Variance HCKZ

Alliance Beverage Distributing LLC

General Ledger Entry
General Ledger Entry
General Ledger Entry

General Ledger Entry

Interco CASH
Unknown WORLDPAY Variance HCKZ

Unknown AMEX Variance HCKZ

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Positive Solutions Support - Monthly Transact on P 07/21/2020

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37.32
2,777.89
8.12
3,802.26
20,816.67
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15.38
5,204.49
13.63
4,572.38
30.22
249.00
2,838.28
7.39
7,733.92
10.56
3.65
8.71
4,347.41
144.00
26.02
237.60
15,909.07
3.25
28.49

573.50
Case:20-01947-jwb Doc #:327-3 Filed: 09/23/2020 Page 10 of 71

Red Tap Solutions 07/21/2020 EFT 875.00
General Ledger Entry Interco CASH 07/21/2020 eft 4,397.65
West Side Beer Distributing 07/21/2020 EFT 278.00
General Ledger Entry Unknown AMEX Variance HCKZ 07/21/2020 eft 47.72
General Ledger Entry Interco CASH 07/22/2020 eft 4,649.16
Imperial Beverage 07/23/2020 EFT 258.05
General Ledger Entry Unknown AMEX Variance HCKZ 07/23/2020 eft 10.19
West Side Beer Distributing 07/23/2020 EFT 239,00
Generali Ledger Entry Interco CASH 07/23/2020 eft 4,714.93
THS Distributing 07/23/2020 EFT 68.00
General Ledger Entry Interco CASH 07/24/2020 eft 6,849.73
General Ledger Entry Unknown AMEX Variance HCKZ 07/27/2020 eft 52.71
General Ledger Entry Interco CASH 07/27/2020 eft 7,960.85
Alliance Beverage Distributing LLC 07/27/2020 EFT 467.00
General Ledger Entry Unknown WORLDPAY Variance HCKZ 07/28/2020 eft 16.33
General Ledger Entry Unknown WORLDPAY Variance HCKZ 07/28/2020 eft 6.36
General Ledger Entry Interco CASH . 07/28/2020 eft 1,516.54
State of Michigan - MLCC 07/29/2020 eft 161.18
General Ledger Entry Interco CASH 07/29/2020 eft 3,798.18
M4 C.LC, LLC 07/30/2020 EFT 170.00
General Ledger Entry : Interco CASH 07/30/2020 eft 3,456.45
State of Michigan - MLCC . 07/30/2020 eft 173.34
Imperial Beverage ’ 07/31/2020 EFT 961.05
Ice Tawn 07/31/2020 eft 439.90
General Ledger Entry Interco CASH 07/31/2020 eft 3,420.96

Total Checks and Charges 138,987.64 0.00
MGMCSTMTN 200801-17746-0001

Case:20-01947-jwb Doc #:327-3 Filed:.09/23/2020 Page 11 of 71

$610 Byron Centar Ave. SV
Wyoming, Mi 49819

 

Return Service Requested. Page:
Mercantilé
“xermae oe en" Documents:

1 of 1

Statement Date: 07/31/2020
Primary Account: XXXXXX9044

0

Period: 06/30/20 to 07/31/20

E
HOPCAT - KANSAS CITY, LLC <T> 30-0
35 OAKES ST SW STE 400 0

GRAND RAPIDS, MI 49503 ‘ 0

Account: XXXXXX9044

06/30/20 . 07/31/20 . 457.38 (5)

457.38 (5)

 

Date Description

07/06 Mthchgs Worldpay Merch Bankcard
07/07 Transfer From Coml Analysis Ck Account
07/15 Transfer From Coml Analysis Ck Account
07/16 Transfer From Coml Analysis Ck Account
07/17 Unauthorized Transaction: Pbg - G&a Ou Ach Notification Decision By Dwillison

   

Hopcat - Ke

ate Description
07/06 Transfer To Comi Analysis Ck Account 4777
07/07 Billng Vantiv_intg_pymt Merch Bankcard
07/15 Commercial Service Charge

07/16 Pbg - G&a Ou Corp Pmt
07/17 Transfer To Com Analysis Ck Account 4777

Hopcat Kansas City Ecomm

ate
07/06 . 07/15
07/07 07/16

 

 

 
Case:20-01947-jwb Doc #:327-3 Filed: 09/23/2020 Page 12 of 71

   

 

 

Statement Ending Balance .
Deposits in Transit : 0.06
Outstanding Checks and Charges , 6.08
Adjusted Bank Balance . 0.06
Book Balance 8.08
Adjustments* 0.80
Adjusted Back Balance 8.06

Total Checks anid Charges Cleared 272.63 Total Deposits Cleared 272.63
Deposits

   
     

General Ledger Entry WorldPay Monthly Charges - P? 2020 87/07/2020 at 4.80
General Ledger Entry Isterco CASH . : 87/07/2020 aft 17.50
General Ledger Entry Interco CASH 07/15/2020 ef 68,38
General Ledger Entry Interco CASH 07/16/2620 eft 184.75
Total Deposits 72.63 OO

Checks

 

d Charges

       
    

 

   

General Ledger Entry Interco CASH 106/202 eft

General Ledger Entry Vantiv Monthly Charges - P7 2026 07/07/2620 eft 17.50
Seneral Ladger Entry Mercantile Monthly Bank Charges - P? 202 07/25/2020 eft 68.38
General Ledger Entry Interco CASH 07/17/2020 ak 184.75

Fatal Checks art Charges 272.63 0.06

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MGMCSTMTN 200801 -18287-0001

Case:20-01947-jwb Doc #:327-3 Filed: 09/23/2020 Page 13 of 71

5610 Byron Genta: Ave. Si
Wyoming, Mi 4a619

  

- Return Service Requested Page: 1 of 1
se et i te, sie et Epa Statement Date: 07/31/2020
Mercantile Koran | Primary Account: XXXXXX8664
‘ Documents: 0

Period: 06/30/20 to 07/31/20

E
HOPCAT-MINNEAPOLIS, LLC <T> 30-0
35 OAKES ST SW STE 400 0
GRAND RAPIDS, MI! 49503 0

COMMERCIAL ANALYSIS CHECKING ACCOUNT Account: XXXXXX8664

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SES 5

07/31/20 87.28 (3) 87.28 (3)

 

 

Date Description Amount
07/06 Mthchgs Worldpay Merch Bankcard Hopcat Minny 2.00
07/07 Transfer From Coml Analysis Ck Account A777 17.50
07/15 Transfer From Coml Analysis Ck Account 4777 67.78

 

Date Description Amount
07/06 Transfer To Coml Analysis Ck Account 4777 2.00
07/07 Billng Vantiv_intg_pymt Merch Bankcard Hopcat Minneapolis 17.50
07/15 Commercial Service Charge 67.78

   

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07/07 07/15
Case:20-01947-jwb Doc #:327-3 Filed: 09/23/2020 Page 14 of 71

 

 

Deposits in Fransit 0.00
Outstanding Checks and Charges 6.00
Adjusted Sank Balance 8.06
Book Balance 8.00
Adjustments* 6.00
Adjusted Book Balance 6.00

Total Cherks and Charges Cleared 87.28 Total Deposits Cleared 87.28

Deposits

   

General Ledger Entry WorldPay Monthly Charges - P?7 2026 07/07/2020 aft 2.60
Gengral Ledger Entry Interca CASH 87/07/2020 aft 47.50
General Ledger Entry Interco CASH 07/15/2020 aft 67.78
Total Deposits 87.28 SSC

Checks and Charges

   
   

ig
General Ledger Entry Vantiv Monthly Charges - P? 2020 ‘ 97/07/2020 eft 17.58
General Ledger Entry Mercantile Monthly Bank Charges - ®7 202: 67/15/2020 oft 67.78

Total Checks and Charges 87.28 €.00
MGMCSTMTN 200801 -1 9579-0001

Case:20-01947-jwb Doc #:327-3 Filed: 09/23/2020 Page 15 of 71

5610 Byron Center Ave. SW
Wyoming, Mi 495719

 

Return Service Requested

Mercantile

Bank of Michigan bee 07001

HOPCAT - GR BELTLINE, LLC
35 OAKES ST SW STE 400
GRAND RAPIDS, MI 49503

careers

COMMERCIAL ANALYSIS CHECKING ACCOUNT

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06/30/20

07/31/20

Page: 1 of 4
Statement Date: 07/31/2020
Primary Account: XXXXXX0488
Documents: 0

Period: 06/30/20 to 07/31/20

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Account: XXXXXX0488

147,652.94 (49)

 

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Description
American Express Settlement XXXXXX9205

Doordash, Inc. E. Beltlin St-R9wW9q8z3f5q1

Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term
Transfer From Coml Analysis Ck Account M4777

Doordash, Inc. E. Beltlin St-L3z6i7v6g8u0
Doordash, Inc. E. Beltlin St-J4i2I8b1h6d6
Doordash, Inc. E. Beltlin St-N502e7b5x114
American Express Settlement XXXXXX9205
Comb. Dep. Worldpay Worldpay Comb. Dep. Term
Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term
Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term
Comb. Dep. Worldpay Worldpay Comb. Dep. Term
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American Express Settlement XXXXXX9205
Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term

Comb. Dep. Worldpay Worldpay Comb. Dep. Term

American Express Settlement XXXXXX9205

Postmates Inc. 1240 Jul 6 St-B8s6w1p1w8m1

Postmates Inc. 1240 Jun 2 St-Z3a1h8d4k7d7

Doordash, Inc. E. Belilin St-D2p6m1j3z7f0

Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term
Postmates Inc. 1240 Jul 7 St-COk6iOm0w718

Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term
Doordash, Inc. E. Beltlin St-LOc5d9s4b1r5

Comb. Dep. Worldpay Worldpay Comb. Dep. Term

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American Express Settlement XXXXXX9205

Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term
Doordash, inc. E. Beltlin St-R3p5f3m6z2b5

Comb. Dep. Worldpay Worldpay Comb. Dep. Term
Postmates Inc. 1240 Jul 1 St-U7h6g2y1b6s8

Postmates Inc. 1240 Jul 1 St-P5z5n4z4f2g8

American Express Settlement XXXXXX9205

 
  
 
  
 
 

Amount
133.27
179.76
279.80
173.17
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169.07
249.58
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2,882.51
293.37
1,217.70
. 2,383.90
30.65
49.73
185.04
400.55
486.87

36.77
375.25
737.85

2,404.79

2,763.78
130.04
270.67
784.19

3,853.82

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MGMOSTMTN 200801-19679-0002

 

Case:20-01947-jwb Doc #:327-3 Filed: 09/23/2020

HOPCAT - GR BELTLINE, LLC
35 OAKES ST SW STE 400
GRAND RAP DS, MI 49503

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Bank of Michinact

Page 16 of 71

Page: 2of4
Statement Date: 07/31/2026
Primary Account XXXXXXO488

 

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Description

Doordash, Inc. E. Beltlin Su8méq3figom5

Arnerican Express Settlement XXXXXX9205

Comb. Dep. 8/3 Bankcard Sys Worldpay Comb. Dep. Term
Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term
Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term
Comb. Dep. Worldpay Worldpay Comb. Dep. Term
Comb. Dep. Worldpay Worldpay Comb. Dep. Term
American Express Settlement XXXXxXX9205
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Dooniash, Inc. E. Beltlin St-D2z9uérad5ié

Comb. Dep. Worldpay Worldpay Comb. Dep. Term [RR
Pasimates Inc. 1240 Jul 1 St-vod0igadtags

American Express Settlement XXXXXX9205

Doordash, inc. E. Beltlin St-Boy8y6q7e628

Comb. Dep. 6/3 Bankcard Sys Worldpay Comb. Dep. Term
Comb. Dep. Worldpay Worldpay Comb. Dep. Term
Comb. Dep. Workipay Worldpay Carnb. Dep. Term

Postmates Inc. 1240 Jul 1 St-O8p3q7izg3ag9

American Express Settlement XXXXXX9205

Doordash, Inc. E. Beltlin St-Cew7itpawod4

Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Tern
American Express Settlement XXXXXX9205

Doordash, inc, E. Beltlin St-B2t90828}406

Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term

Comb. Dep. Worldpay Worldpay Comb. Dep. Term

Postmates Inc. 1240 Jul 1 St-J4ridSu7y2c8

Doordash, inc. E. Beltlin St-P1d7p1i6i8m7

Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Ten ie
American Express Settlement XXXXXX9205

American Express Settlement XXXXXX9205

Comb. Dep. 5/8 Bankcard Sys Worldpay Comb. Dep. Term
Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term
Comb. Dep. Workipay Worldpay Comb. Dep. Term
Comb. Dep. Worldpay Worldpay Comb. Dep. Term
Doordash, inc. E. Beltlin SH-7y9mam4t5ps

Comb. Dep. Worldpay Worldpay Camb. Dep. Term
Comb. Dep. Worldpay Worldpay Cornb. Dep. Term
Comb, Dep. Warldpay Worldpay Comb. Dep. Term

Posimates Inc. 1240 Jul 2 St-X4a5jOwt1f3d7

Doordash, inc. E. Beltlin St-X6xDaSudrOnd

Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term
American Express Settlerment XXXXXX9205

Comb. Dep. Worldpay Worldpay Comb. Dep. Term
Postmates inc. 1240 Jul 2 St-L208z4p4a8t4

Doordash, inc. E. Beitlin St-O0oSl1q3i4g8

Armerican Express Settlement XXXXXX9205

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Camb. Dep. Worldpay Worldpay Comb. Dep. Term

Armerican Express Settlernent XXXXXX9205

Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term
Grubhub inc Jul Actvty 20072422nedrmb]

Comb. Dep. Worldpay Worldpay Comb. Dep. Term
Postmates Inc. 1240 Jul 2 St-Y 116b3f0k4k4

American Express Settlement XXXXXX9205

Postmates inc. 1240 Jul 2 StLN7xSwiq3aSr8

Doordash, Inc. E. Beltlin SEBéx6id4s7t2mS

Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Tern
American Express Settlement XXXXXX9205

Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term

 
   
  
 
 

 
 
  
 
 
  
 

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1,075.82

5,015.03

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457.24
485.47
900.80

2,541.39

3,034.28

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323.00
330.24
482.04

71.38
632.16 -
658.74

3,643.08

25.92

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167.61
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836.84
836.95

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776.95

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24.42

35.09
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626.31

3,802.02
147.26
643,23

1,185.61

4,591.44

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125.738
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949,75
MGMCSTMTN 200801-19579-0003

Case:20-01947-jwb Doc #:327-3 Filed: 09/23/2020 Page 17 of 71

HOPCAT - GR BELTLINE, LLC Page: 3 of 4
SON BAD De Mi daate Statement Date: 07/31/2020
Primary Account: XXXXXX0488

 

  
     

Date Description Amount
. 07/27 Comb. Dep. 5/3 Bankeard Sys Worldpay Comb. Dep. Term 1,389.08
07/27 Comb. Dep. Worldpay Worldpay Comb. Dep. Term 5,039.11
07/27 Comb. Dep. Worldpay Worldpay Comb. Dep. Term 5,755.65
07/27 Comb. Dep. Worldpay Worldpay Comb. Dep. Term 6,855.38
07/28 American Express Settlement XXXXXX9205 144.40
07/28 Doordash, Inc. E. Beltlin St-O1v104y609u6 448.69
07/28 Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term . 1,044.56
07/28 Comb. Dep. Worldpay Worldpay Comb. Dep. Term 3,293.94
07/29 Postmates Inc. 1240 Jul 2 St-G6p6x3d0y4f4 90.26
07/29 American Express Settlement XXXXXX9205 135.53
07/29 Doordash, Inc. E. Beltlin St-G7n6v6d1i0v7 345.39
07/29 Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term 443.17
07/29 Comb. Dep. Worldpay Worldpay Comb. Dep. Term 3,705.99
07/30 Posimates Inc. 1240 Jul 2 St-L2n1w3e7y8j5 90.39
07/30 American Express Settlement XXXXXX9205 163.45
07/30 Doordash, Inc. E. Beitlin St-LOf917t1a9r9 390.76
07/30 Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term 397.57
07/30 Comb. Dep. Worldpay Worldpay Comb. Dep. Term 3,553.80
07/31 Postmates Inc. 1240 Jul 2 St-O8b6m7s9g1a3 60.00
07/31 American Express Settlement XXXXXX9205 249,99
07/31 Doordash, Inc. E. Beltlin St-Y9q4w8x9i6e3 317.14
07/31 Grubhub Inc Jul Actvty 20073129nedrmbj 467.73
07/31 Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term 590.23
07/31 Comb. Dep. Worldpay Worldpay Comb. Dep. Term 3,594.54

 

Date Check No Amount Date Check No Amount Date Check No Amount
07/27 10024 8,982.31 |
* Indicates a Gap in Check Number Sequence

 

 

 

 
   

  
  
 
 
  
 

  
    
  
   

Description , Amount
Imperial Beverag Fintecheft XX-XXX6994 259.60
Transfer To Comi Analysis Ck Account 4777 333.23
M4 C.i.c, Lic Fintecheft XX-XxXxX6994 225.00
West Side Beer D Fintecheft XX-XXX6994 302.00
Transfer To Coml Analysis Ck Account 325.13
Mthchgs Worldpay Merch Bankcard Hopcat Beltline 1,995.39
Transfer To Com! Analysis Ck Account 4,651.52
Billng Vantiv_intg_pymt Merch Bankcard Hopcat Knapps Comer - Ecomm 815.43
Transfer To Coml Analysis Ck Account 3,079.54
Transfer To Coml Analysis Ck Account 357.84
Imperial Beverag Fintecheft XX-XXX6994 795.00
Fintech.net Fintecheft XX-XXX6994 37.32
Wesi Side Beer D Fintecheft XX-XXX6994 408.00 ~
Alliance Beverag Fintecheft XX-XXxX6994 856.30
Transfer To Com! Analysis Ck Account 5,016.82
Transfer To Coml Analysis Ck Account 4777 5,038.72
Transfer To Coml Analysis Ck Account 4777 15,703.25
Transfer To Com! Analysis Ck Account A777 7,128.53
Commercial Service Charge . 83.99
Transfer To Com! Analysis Ck Account 4777 7,333.94 .
Alliance Beverag Fintecheft XX-XXX6994 65.00
M4 C.i.c, Lic Fintecheft XX-XXX69904 185.00
Transfer To Coml Analysis Ck Account [j4777 218.27

Imperial Beverag Fintecheft XX-XXX6994 718.00
MGMCSTMTN 200801-18579-0004

Case:20-01947-jwb Doc #:327-3 Filed: 09/23/2020 Page 18 of 71

HOPCAT - GR BELTLINE, LLC Page: 4o0f 4
GRAND RAP DS. MI 49603 Statement Date: 07/31/2020

Primary Account: XXXXXX0488

 

 
 
      

 

ate Description Amount
07/17 West Side Beer D Fintecheft XX-XXxX6994 288.00
07/17 Red Tap Draught Sale 720.00
07/17 Transfer To Com! Analysis Ck Account gggg4777 3,997.33
07/20 Positive Solutio Support 449.16
- 07/20 Restaurant Techn Cash Conc 1,041.99
07/20 Transfer To Coml Analysis Ck Account 4777 10,251.05
07/21 Alliance Beverag Fintecheft XX-XXX6994 178.00
07/21 Transfer To Comi Analysis Ck Account 4777 16,496.57
07/22 Transfer To Coml Analysis Ck Account 4777 5,841.31
07/23 West Side Beer D Fintecheft XX-xXxx6994 89.00
07/23 Alliance Beverag Fintecheft XX-XXX6994 606.00
07/23 Transfer To Com! Analysis Ck Account 4777 , 3,984.57
07/24 Henry A. Fox Sal Fintecheft XX-XXX6994 122.70
07/24 Transfer To Comi Analysis Ck Account 4777 6,444.81
07/27 Transfer To Comi Analysis Ck Account 4777 12,699.79
07/28 West Side Beer D Fintecheft XX-XXx6994 199.00
07/28 Transfer To Coml Analysis Ck Account 4777 4,732.59
07/29 Transfer To Comi Analysis Ck Account 4777 4,720.34
07/30 M4 C.i.c, Llc Fintecheft XX-XXX6994 475.00
07/30 Alliance Beverag Fintecheft XX-xXXX6994 561.00
07/30 Transfer To Comi Analysis Ck Account INS 777 3,559.97
07/31 Restaurant Equip Cons Coll 556.50
07/31 Imperial Beverag Fintecheft XX-XxXxX6994 . 712.00
07/31 Transfer To Coml Analysis Ck Account ggj4777 4,011.13
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Date Balance Date Balance Date
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07/14 07/23
Case:20-01947-jwb Doc #:327-3 Filed: 09/23/2020 Page 19 of 71

  

 

Statement Ending Balance ~ — 0.00
Deposits in Transit 24,001.01
Outstanding Checks and Charges . 0.00
Adjusted Bank Balance 24,001.01.
Book Balance 24,001.01
Adjustments* , 0.00
Adjusted Book Balance “24,001.01

179,275.40 Total Deposits Cleared 179,275.40

Total Checks and Charges Cleared

Deposits

 
 

General Ledger Entry
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DoorDash Sales HCBEL 6.29.20
Postmates Sales HCBEL 6.30.20

DoorDash Sales HCBEL 6.30.20

Unknown AMEX Variance HCBEL

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6,587.01
1,164.48
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1,005.01
425,02
9,103.61
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6,092.62
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4,072.08
349,82
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eft 10.36
Case:20-01947-jwb Doc #:327-3

General Ledger Entry
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DoorDash Sales HCBEL 7.01.20
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Unknown AMEX Variance HCBEL.
DoorDash Sales HCBEL 7.02.20
WORLD PAY - OLO AMEX
WORLD PAY - OLO TENDER
WORLDPAY

DoorDash Sales HCBEL 7.03.20
WORLD PAY - OLO TENDER
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WORLD PAY - OLO TENDER
WORLD PAY - OLO AMEX

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DoorDash Sales HCBEL 7.06.20
WORLD PAY - OLO TENDER
AMEX

WORLD PAY - OLO TENDER
WORLDPAY

WORLD PAY - OLO TENDER
Postmates Sales HCBEL 7.08.20
WORLDPAY

DoorDash Sales HCBEL 7.08.20
Postmates Sales HCBEL 7.08.20
AMEX

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WORLD PAY - OLO AMEX
Postmates Sales HCBEL 7.09.20
DoorDash Sales HCBEL 7.09.20
WORLD PAY - OLO TENDER
WORLDPAY

Unknown AMEX Variance HCBEL
WORLD PAY - OLO AMEX

WORLD PAY - OLO TENDER
WORLDPAY

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DoorDash Sales HCBEL 7.10.20
Unknown AMEX Variance HCBEL
AMEX

WORLD PAY - OLO AMEX

Filed: 09/23/2020 Page 20 of 71

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3,853.82

eft 0.29

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Case:20-01947-jwb Doc #:327-3 Filed: 09/23/2020 Page 21 of 71

General Ledger Entry
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Unknown AMEX Variance HCBEL
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WORLD PAY - OLO AMEX
DoorDash Sales HCBEL 7.13.20
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WORLD PAY - OLO TENDER
AMEX

Postmates Sales HCBEL 7.13.20
Postmates Sales HCBEL 7.13.20
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DoorDash Sales HCBEL 7.14.20
WORLD PAY - OLO TENDER
Unknown AMEX Variance HCBEL
WORLD PAY - OLO AMEX

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WORLD PAY - OLO TENDER
DoorDash Sales HCBEL 7.15.20
Postmates Sales HCBEL 7.15.20
WORLDPAY

DoorDash Sales HCBEL 7.16.20
Postmates Sales HCBEL 7.16.20
WORLD PAY - OLO AMEX

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DoorDash Sales HCBEL 7.17.20
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Unknown AMEX Variance HCBEL
DoorDash Sales HCBEL 7.20.20
WORLD PAY - OLO AMEX

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Case:20-01947-jwb Doc #:327-3

General Ledger Entry
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Postmates Sales HCBEL 7.20.20
WORLD PAY - OLO TENDER
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WORLDPAY

DoorDash Sales HCBEL 7.21.20
WORLD PAY - OLO AMEX
WORLD PAY - OLO TENDER
AMEX

Unknown AMEX Variance HCBEL
AMEX

WORLDPAY

WORLD PAY - OLO TENDER
DoorDash Sales HCBEL 7.22.20
Postmates Sales HCBEL 7.22.20
Unknown AMEX Variance HCBEL
WORLDPAY

DoorDash Sales HCBEL 7.23.20
Postmates Sales HCBEL 7.23.20
WORLD PAY - OLO TENDER
AMEX

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WORLD PAY - OLO AMEX

WORLD PAY - OLO TENDER
GRUBHUB Sales HCBEL 7.24.20
AMEX

Unknown AMEX Variance HCBEL
WORLD PAY - OLO TENDER
WORLDPAY

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WORLD PAY - OLO TENDER
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WORLD PAY - OLO AMEX

AMEX

DoorDash Sales HCBEL 7.27.20
Postmates Sales HCBEL 7.27.20
Postmates Sales HCBEL 7.27.20
WORLDPAY

WORLD PAY - OLO TENDER
Unknown AMEX Variance HCBEL
AMEX

WORLD PAY - OLO TENDER
WORLDPAY

DoorDash Sales HCBEL 7.28.20

Filed: 09/23/2020 Page 22 of 71

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4,591.41

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1,185.64

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1,455.03
6,855.38

315.63

149.31

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Case:20-01947-jwo Doc #:327-3

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Total Deposits

    

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Imperial Beverage
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M4 C.LC. LLC

West Side Beer Distributing

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Checks and Charges

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Interco CASH

WORLD PAY - OLO AMEX

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WORLDPAY

WORLD PAY - OLO TENDER
Postmates Sales HCBEL 7.29.20
DoorDash Sales HCBEL 7.29.20
WORLD PAY - OLO AMEX

AMEX

WORLDPAY

DoorDash Sales HCBEL 7.30.20
Postmates Sales HCBEL 7.30.20
WORLD PAY - OLO AMEX

WORLD PAY - OLO TENDER
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WORLD PAY - OLO TENDER
WORLD PAY - OLO AMEX
GRUBHUB Sales HCBEL 7.31.20
Postmates Sales HCBEL 7.31.20
DoorDash Sales HCBEL 7.31.20
AMEX

WORLD PAY - OLO TENDER
AMEX

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WORLD PAY - OLO TENDER
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WORLDPAY

Interco CASH

Interco CASH

Unknown AMEX Variance HCBEL

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Interco CASH
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Interco CASH

Filed: 09/23/2020 Page 23 of 71

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Case:20-01947-jwb Doc #:327-3

General Ledger Entry
General Ledger Entry
Imperial Beverage

General Ledger Entry
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General Ledger Entry

WorldPay Monthly Charges - P7 2020

Vantiv Monthly Charges - P7 2020

Interco CASH
Unknown AMEX Variance HCBEL

Interco CASH

Alliance Beverage Distributing. LLC

General Ledger Entry

West Side Beer Distributing

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General Ledger Entry
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M4 C,LC. LLC
Imperial Beverage

General Ledger Entry

Michigan Dept of Treasury

Red Tap Solutions

Unknown WORLDPAY Variance HCBEL

Interco CASH

Unknown WORLDPAY Variance HCBEL
Unknown AMEX Variance HCBEL
Interco CASH

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Interco CASH

Interco CASH

Mercantile Monthly Bank Charges - P7 2020

Interco CASH

Alliance Beverage Distributing LLC

Genera! Ledger Entry

General Ledger Entry

West Side Beer Distributing

Restaurant Technologies, Inc

General Ledger Entry
General Ledger Entry

General Ledger Entry

Unknown AMEX Variance HCBEL

Interco CASH

Interco CASH

Unknown AMEX Variance HCBEL

Filed: 09/23/2020 — Page 24 of 71

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Positive Solutions Support - Monthly Transact on P 07/21/2020

Alliance Beverage Distributing LLC

General Ledger Entry

General Ledger Entry

Interco CASH

Interco CASH

Alliance Beverage Distributing LLC

West Side Beer Distributing

General Ledger Entry

Henry A. Fox Sales Co,

General Ledger Entry
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Interco CASH

Interco CASH

Unknown AMEX Variance HCBEL
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Interco CASH

Unknown WORLDPAY Variance HCBEL

Interco CASH

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288.00

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16,496.57

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Case:20-01947-jwb Doc #:327-3 Filed: 09/23/2020 Page 25 of 71

West Side Beer Distributing 07/28/2020 EFT 199.00

General Ledger Entry Unknown AMEX Variance HCBEL 07/29/2020 eft 3.07
General Ledger Entry Interco CASH 07/29/2020 eft 4,720.34
Alliance Beverage Distributing LLC 07/30/2020 EFT 561.00
M4 C.I.C, LLC 07/30/2020 EFT 475,00
General Ledger Entry Unknown AMEX Variance HCBEL 07/30/2020 eft 13.06
General Ledger Entry Interco CASH 07/30/2020 eft 3,559.97
General Ledger Entry Unknown AMEX Variance HCBEL 07/31/2020 eft 13.61
Imperial Beverage 07/31/2020 EFT 712.00
Ice Town 07/31/2020 eft 556.50
General Ledger Entry Interco CASH . , 07/31/2020 eft 4,011.13

Total Checks and Charges 179,275.40 0.00
MGMOSTNTN 20080 1-19878-0001

Case:20-01947-jwb Doc #:327-3 Filed: 09/23/2020 Page 26 of 71

8610 Byron Center Ave, SW
Wyoming, Ml 49519

Return Service Requested

 

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Page: 1ot4
Statement Date: 07/31/2020
Primary Account XXXXXX0451
Documents: 0

Period: 06/30/20 to 07/31/20

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HOPCAT ~ HOLLAND, LLC <T> 30-0
35 OAKES ST SW STE 400 0
GRAND RAPIDS, MI 49503 6

COMMERCIAL ANALYSIS CHECKIN

06/30/26

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Account: XXXXXX0451

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Description

American Express Settlement XXXXXX2107

Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term
Doordash, inc. West 8th S St-R6adu3z4q3ct

Comb. Dep. 6/3 Bankcard Sys 5/3 Bankcard Comb. Dep. Hop
Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term

American Express Settlernent XXXXXX2107

Doordash, Inc. West 8th S St-Sod7xStexis7

Comb. Dep. 5/3 Bankcard Sys 5/3 Bankcard Comb. Dep. MME Hop
American Express Settlement XXXXXX2107

Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term
Doordash, inc. West 8th S St-D1f1j5m2vSp2

Comb. Dep. 5/3 Bankcard Sys 5/3 Bankcard Comb. Dep. MM Hop
American Express Settlement XXXXXX2107

Doordash, inc. West 8th S StT1lam7y1b6b6

Camb. Dep. 8/3 Bankcard Sys Worldpay Comb. Dep. Term

Comb. Dep. §/3 Bankcard Sys Worldpay Camb. Dep. Term

Comb. Dep. 6/3 Bankcard Sys Worldpay Comb. Dep. Term

American Express Settlement XXXXXX2107

Comb. Dep. 5/3 Bankcard Sys 5/3 Bankcard Comb. Dep.
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Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term
American Express Settlement XXXXXX2107

Doordash, inc. West 8th S St-l5r7v4s0s6j7

Comb. Dep. 5/3 Bankcard Sys 5/3 Bankcard Comb. Dep. MME Hop
American Express Satilement XXXXXX2107

Postmates inc. 1250 Jun 2 St-C7q8rOwég0ud
Doordash, Inc. West 8th S St-G2o08pSh9j5s5

Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term ;
Comb. Dep. 8/3 Bankcard Sys 5/3 Bankcard Comb. Dep. Hop
Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term

Doordash, inc. West 8th S St-F2x4l6n725t1

Comb. Dep. 6/3 Bankcard Sys 5/3 Bankcard Comb. Dep. MN Hop

 
  
  
   
  

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410.874
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Case:20-01947-jwb Doc #:327-3 Filed: 09/23/2020 Page 27 of 71

HOPCAT - HOLLAND, LLC
35 OAKES ST SW STE 400
GRAND RAP DS, MI 49503

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Page: 2o0f 4
Statement Date: 07/34/2020
Primary Account: XXXXXX0451

 

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American Express Settlement XXXXXX2107

Pastmates Inc. 1250 Jul 6 St-Bongfsiés1j4

Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Ten iii
Doordash, Inc. West 8th S St-R1dgiBw1l0is

Comb. Dep. 5/3 Bankcard Sys 5/3 Bankcard Comb. Dep. MM Hop
Postmates Inc. 1250 Jul 9 St-SSasa7Tr7g3t9

Posimates inc. 1250 Jul 1 St-uOegdOs8iShS

Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term

Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term

American Express Settlement XXXXXX2107

Comb. Dep. 5/3 Bankeard Sys Worldpay Comb. Dep. Term
Doordash, inc. West Sth S St-Aim8c2s3b1x5

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Comb. Dep. 5/3 Bankcard Sys 5/3 Bankeard Comb. Dep. Hop
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American Express Settlement XXXXXX2107

Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term ET
Doordash, Inc. West 8th 5 St-SSi7d8w4i8d1

Comb. Dep. 5/3 Bankcard Sys 5/3 Bankcard Comb. Dep. ME Hop
Posimates Inc. 1250 Jul 1 St-LOk4y6néo3c4

American Express Settlement XXXXXX2107

Comb. Dep. &/3 Bankcard Sys Worldpay Comb. Dep. Term
Doardash, Inc. West 8th S St-JOr6x8méq4x0

Comb. Dep. 5/3 Bankcard Sys 5/3 Bankcard Comb. Dep. MM Hop
American Express Settlement XXXXXX2107

Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Tern
Doordash, inc. West 8th S St-J7c4t7g4i2b8

Comb. Dep. 5/3 Bankcard Sys S/3 Bankcard Comb. Dep. Hop
Comb. Dep. 5/8 Bankcard Sys Worldpay Comb. Dep. Term

American Express Settlement XXXXXX2107

Doordash, inc. West 8th S St-R9z7n6hnigSg7

Comb. Dep. 5/3 Bankcard Sys 5/3 Bankcard Comb. Dep. MM Hop
Postmates Inc. 1260 Jul 1 St-E3qOQq3aizst?

American Express Settlement XXXXXX2107

Comb. Dep. §/3 Bankcard Sys Worldpay Comb. Dep. Term

Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term

Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term

Doordash, Inc. West 8th S St-FSwagSfi2y4

American Express Settlement XXXXXX2107

Comb. Dep. 5/3 Bankcard Sys 5/8 Bankcard Comb. Dep. Hop
Comb. Dep. 5/3 Bankcard Sys 5/3 Bankcard Comb. Dep. Hop
Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term

Doordash, inc. West 8th S St-N4c2i6rQuSh3

Comb. Dep. 5/3 Bankeard Sys 5/3 Bankcard Comb. Dep. RE Hop
Doordash, Inc. West 8th S St-x2iSq4z8nS06

American Express Settlement XXXXXX2107

Comb. Dep. 5/3 Bankcard Sys 5/3 Bankcard Comb. Dep. ME Hop
Postmates Inc. 1250 Jul 2 St-D8s9féq6n4cO

American Express Settlement XXXXXX2107

Camb. Dep. 6/3 Bankcard Sys Worldpay Comb. Dep. Term

Doordash, inc. West 8th 5 St-H3d6éz9zard5y8 a
Comb. Dep. 6/3 Bankcard Sys 5/3 Bankcard Comb. Dep. x Hop
Postmates Inc. 1250 Jul 2 St-N6c8s 1p3tdad

Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term
American Express Settlement XXXXXX2107

Comb. Dep. 5/3.Bankcard Sys 5/3 Bankcard Comb. Dep. x Hop
Postmates inc. 1250 Jul 2 SE-NSb4v4cOpsnd

American Express Settlement XXXXXX2107

  

 
 
  
 
  

Amount
53.11
63.46
31.43

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2,896.59
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56.31

473.59
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416.43
454.61
$10.81
$95.36

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279.85
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508.60

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560.83
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328.774
480.14

4,279.44.

51.55
203.85
299.414
436.24

2,483.89
22.02

420.23
155.19

2,476.34

96.55
478.36
MGMCSTMTN 200801-19578-0003

 

Description

Date
07/27

Case:20-01947-jwb Doc #:327-3 Filed: 09/23/2020 Page 28 of 71

HOPCAT - HOLLAND, LLC Page:

35 OAKES ST SW STE 400 .

GRAND RAP DS, MI 49803 Statement Date:
Primary Account:

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Doordash, Inc. West 8th S St-Z9w5r9t4w1u8 .

Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term

Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term

American Express Settlement XXXXXX2107

Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term
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American Express Settlement XXXXXX2107

Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term
Doordash, Inc. West 8th S St-H8d6y5g2f4y7

Comb. Dep. 5/3 Bankcard Sys 5/3 Bankcard Comb. Dep. Hop
Postmates Inc. 1250 Jul 2 St-C9y2w7z3p2c9

American Express Settlement XXXXXX2107

Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Tern
Doordash, Inc. West 8th S St-G30708s4w4s3

Comb. Dep. 5/3 Bankcard Sys 5/3 Bankcard Comb. Dep. Hop
Comb. Dep. 5/3 Bankcard Sys Woridpay Comb. Dep. Term

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American Express Settlement XXXXXX2107

Doordash, Inc. West 8th S St-F4s0g20015f7

Posimates Inc. 1250 Jul 2 St-J7w6k3k3n6c3

Comb. Dep. 5/3 Bankcard Sys 5/3 Bankcard Comb. Dep. Hop
Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term

Doordash, Inc. West 8th S St-H7d3v5k310i9

   
 
 

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Check No Amount Date Check No Amount Date Check No

 

 

10016 4,990.43

* Indicates a Gap in Check Number Sequence

Description

Transfer To Com! Analysis Ck Account [4777

Alliance Beverag Fintecheft XX-XXX7132

Transfer To Coml Analysis Ck Account 4777

Mervenne Beverag Fintecheft XX-XXX7132

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Transfer To Com! Analysis Ck Account 4777

Henry A. Fox Sal Fintecheft XX-XXX7132

Transfer To Coml Analysis Ck Account 4777

Billng Vantiv_intg_pymt Merch Bankcard Hopcat Holland - Ecomm
Transfer To Coml Analysis Ck Account 717

I.h.s. Dist. Co. Fintecheft XX-XXX7132

Imperial Beverag Fintecheft XX-XXX7132

Transfer To Coml Analysis Ck Account 4777

Imperial Beverag Fintecheft XX-XXX7132

Fintech.net Fintecheft XX-XXX7132

Alliance Beverag Fintecheft XX-XXX7132

Fifth Third Ach Mps Billng 08965q

Transfer To Com! Analysis Ck Account 4777
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Transfer To Com! Analysis Ck Account 4777

Commercial Service Charge
State Of Michnws Liquorsale #xxxxx0133

3 of 4
07/31/2020
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Amount

 
MGMOSTMTN 200801-49678-O004,

Case:20-01947-jwb Doc #:327-3 Filed: 09/23/2020 Page 29 of 71

 

HOPCAT - HOLLAND, LLC Page: 4o0f4
SO Se Mae Statement Date: 07/34/2020
Primary Account XXXXXX0451
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Date Description _ Amount

   
   
  
 
   

07/18 Transfer To Comi Analysis Ck Account A777 3,082.85
07/16 Imperial Beverag Fintecheft XX-XXX71 374.00
07/16 Transfer To Comi Analysis Ck Account A777 2,900.43 -
O77 Red Tap Draught Sale 800.00
07/17 Transfer To Com! Analysis Ck Account [RES777 2,733.09
07/20 Restaurant Techn Cash Conc 4,001.89
07/20 Transfer To Corl Analysis Ck Account 4777 10,241.30
07/21 Transfer To Coml Analysis Ck Account A777 8,492.02
07/22 Comcast Cable Svc 1,054.75
07/22 Transfer To Comi Analysis Ck Account 4777 2,033.54
07/23 Alliance Beverag Fintechel AX-XXX7 132 120.60
07/23 i.h.s. Dist. Co. Fintecheft XX-XXX7132 128.00
07/23 Transfer To Com! Analysis Ck Account ATT? ‘ 3,231.04
07/24 Transfer To Coml Analysis Ck Account 4777 2,773.78
07/27 Henry A. Fox Sal Fintecheft XX-XXX7'1 84.00
07/27 ‘Transfer To Comi Analysis Ck Account 94777 13,263.22
07/28 Red Tap Draught Sale 220,00
07/28 Transfer To Carmi Analysis Ck Account 4,430.84
07/29 Transfer To Coml Analysis Ck Account 3,168.03
07/20 Transfer To Com! Analysis Ck Account 1,898.19
07/31 Transfer To Comi Analysis Ck Account 180.54
07/31 Restaurant Equip Cons Coll 614.16

Date -Balance Balance Date
07/01 i O73 07/23
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07/03 07/24 07734
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Case:20-01947-jwb Doc #:327-3 Filed: 09/23/2020 Page 30 of 71

     

 

Statement Ending Balance 0.00
Deposits in Transit 5,332.93
Outstanding Checks and Charges 0.00
Adjusted Bank Balance 5,332.93
Book Balance 5,332.93
Adjustments* 0.00
Adjusted Book Balance 5,332.93

Total Checks and Charges Cleared 146,397.70 Total Deposits Cleared 146,397.70

Deposits

 
   

  

 
    
   

General Ledger Entry . WORLD PAY - OLO TENDER 06/18/2020 36.84
General Ledger Entry AMEX 06/19/2020 350.93
General Ledger Entry AMEX 06/22/2020 157.30
General Ledger Entry WORLD PAY - OLO TENDER . 06/24/2020 380.03
General Ledger Entry WORLD PAY - OLO TENDER 06/25/2020 : 236.67
General Ledger Entry WORLD PAY - OLO TENDER 06/26/2020 345.41
General Ledger Entry WORLDPAY 06/26/2020 3,854.38
General Ledger Entry AMEX 06/26/2020 86.44
General Ledger Entry AMEX 06/27/2020 98.62
General Ledger Entry WORLD PAY - OLO TENDER 06/27/2020 250.97
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General Ledger Entry DoorDash Sales HCHOL 6.29.20 06/29/2020 285.27
General Ledger Entry ~ WORLD PAY - OLO AMEX 06/30/2020 26.24
General Ledger Entry WORLD PAY - OLO TENDER 06/30/2020 192.40
General Ledger Entry AMEX 06/30/2020 133.38

General Ledger Entry DoorDash Sales HCHOL 6.30.20 06/30/2020 929.51
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DoorDash Sales HCHOL 7.02.20
Unknown AMEX Variance HCHOL
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DoorDash Sales HCHOL 7.03.20
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DoorDash Sales HCHOL 7.06.20
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WORLD PAY - OLO TENDER
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DoorDash Sales HCHOL 7.08.20
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DoorDash Sales HCHOL 7.09.20
WORLD PAY - OLO TENDER
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09/23/2020 Page 31 of 71

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Postmates Sales HCHOL 7.10.20
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WORLD PAY - OLO AMEX

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WORLD PAY - OLO TENDER
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DoorDash Sales HCHOL 7.13.20
Postmates Sales HCHOL 7.13.20
Postmates Sales HCHOL 7.13.20
WORLD PAY - OLO TENDER
DoorDash Sales HCHOL 7.14.20
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WORLD PAY - OLO TENDER
DoorDash Sales HCHOL 7.15.20
Postmates Sales HCHOL 7.15.20
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Unknown AMEX Variance HCHOL
WORLD PAY - OLO TENDER
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DoorDash Sales HCHOL 7.16.20
WORLD PAY - OLO AMEX
DoorDash Sales HCHOL 7.17.20
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WORLD PAY - OLO TENDER
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09/23/2020 Page 32 of 71

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DoorDash Sales HCHOL 7.20.20
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WORLD PAY - OLO TENDER
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DoorDash Sales HCHOL 7.22.20
Unknown AMEX Variance HCHOL
WORLD PAY - OLO AMEX
WORLD PAY - OLO TENDER
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Postmates Sales HCHOL 7.23.20
DoorDash Sales HCHOL 7.23.20
WORLDPAY

WORLD PAY - OLO AMEX

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Postmates Sales HCHOL 7.24.20
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Unknown AMEX Variance HCHOL
Postmates Sales HCHOL 7.27.20
DoorDash Sales HCHOL 7.27.20
WORLDPAY
WORLD PAY - OLO TENDER
AMEX

Unknown AMEX Variance HCHOL

DoorDash Sales HCHOL 7.28.20

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09/23/2020 Page 33 of 71

253.55
eft 0.31
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464.90
242.66
3,605.09
299,14
58.97
151.99
2,279.44
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120.23

452.07
82.42
2,488.89
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eft 7.57

478.61
147.62
51.55
436.21
2,476.34
69.97
247.86
22.02
5,356.07
602.95
82.15
121.23
529.22
7,300.34
3,114.68
243.73
222.32
eft 0.58
98.55
268.20
2,372.32
100.97
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Case:20-01947-jwb Doc #:327-3 Filed: 09/23/2020 Page 34 of 71

General Ledger Entry
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Unknown AMEX Variance HCHOL
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DoorDash Sales HCHOL 7.29.20
Postmates Sales HCHOL 7.29.20
WORLD PAY ~ OLO TENDER
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DoorDash Sales HCHOL 7.30.20
WORLD PAY - OLO TENDER
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Postmates Sales HCHOL 7.31.20
DoorDash Sales HCHOL 7.31.20
WORLDPAY

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WORLD PAY - OLO TENDER

Unknown AMEX Variance HCHOL
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Unknown AMEX Variance HCHOL
Unknown WORLDPAY Variance HCHOL

Interco CASH

Alliance Beverage Distributing LLC

General Ledger Entry
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Mervenne Beverage, Inc.

General Ledger Entry
Henry A. Fox Sales Co.
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Unknown AMEX Variance HCHOL
Unknown AMEX Variance HCHOL

Interco CASH

Interco CASH

WorldPay Monthly Charges - P7 2020
WorldPay Monthly Charges - P7 2020
Vantiv Monthly Charges - P7 2020

Unknown AMEX Variance HCHOL

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2,333.86

336,39
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eft 8.75
313.44
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344.40
40.10
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188.53

75.91

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2,352.77

49.52

164.69

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146,397.70 5,332.93

 
  

eft 44.00
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eft 5.83
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EFT 1,323.00
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EFT 458.00
eft 14,055.40
EFT 271.00
eft 399.82
eft 1,264.65
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eft 10.96

 
 
Case:20-01947-jwb Doc #:327-3 Filed: 09/23/2020 Page 35 of 71

General Ledger Entry
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THS Distributing
Imperial Beverage

General Ledger Entry

Interco CASH
Unknown AMEX Variance HCHOL

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Interco CASH

Alliance Beverage Distributing LLC

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General Ledger Entry
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State of Michigan - MLCC

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Imperial Beverage

Michigan Dept of Treasury

Red Tap Solutions
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Restaurant Technologies, Inc

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Comcast

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IHS Distributing

Unknown AMEX Variance HCHOL

Interco CASH

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Interco CASH

Mercantile Monthly Bank Charges - P7 202)

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Unknown AMEX Variance HCHOL

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Unknown WORLDPAY Variance HCHOL

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Alliance Beverage Distributing LLC

General Ledger Entry
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Interco CASH
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Unknown AMEX Variance HCHOL

Unknown AMEX Variance HCHOL

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3,783.56
6.37
13.57
3.50
14,266.65
4,358.40
196.33
79.16
3,082.85
7.07
2,900.43
374.00
4,990.43
800.00
2,733.09
1.48
29.95
1,001.89
11.93
1,054.75
10,241.30
8,492.02
2.64
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2,033.54
12.72
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120.60

3,231.04

2,773.78
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11.09
Case:20-01947-jwb Doc #:327-3 Filed: 09/23/2020 Page 36 of 71

Henry A. Fox Sales Co. 07/27/2020 EFT 84.00

General Ledger Entry Interco CASH 07/27/2020 eft 13,263.22
Red Tap Solutions 07/28/2020 EFT 220.00
General Ledger Entry Interco CASH 07/28/2020 eft 4,130.84
General Ledger Entry Interco CASH 07/29/2020 eft 3,168.03
General Ledger Entry Interco CASH 07/30/2020 eft 1,598.19
Ice Town 07/31/2020 eft 514.10
General Ledger Entry Interco CASH 07/31/2020 eft 180.54

rr
Total Checks and Charges 146,397.70 0.00
MGMCSTMTN 200801-19659-0001

Case:20-01947-jwb Doc #:327-3 Filed: 09/23/2020 Page 37 of 71

5610 Byron Centar Ave. SW
‘Wyoming, Idi 49819

 

; Return Service Requested Page: 1 0f 2
«Fs Statement Date: 07/31/2020
Mercantile oreo : Primary Account: XXXXXX4153
Documents: 0

Period: 06/30/20 to 07/31/20

E
BARFLY VENTURES, LLC <T> 30-0
BARFLY SITE CHECKING 0
35 OAKES ST SW STE 400 0

GRAND RAPIDS, MI 49503

COMMERCIAL ANALYSIS CHECKING ACCOUNT Account: XXXXXX4153

06/30/20 42,298.40 07/31/20 26,739.68 88,742.38 (3) 104,301.10 (17)

 

 

 
     

Date Description Amount

07/14 Internet Transfer From Coml Analysis Ck XXXXXX4777 On 7/14/20 At 9:04 30,000.00
07/22 Intemet Transfer From Coml Analysis Ck XXXXXX4777 On 7/22/20 At 13:48 40,000.00
07/28 Internet Transfer From Coml Analysis Ck XXXXXX4777 On 7/28/20 At 15:03 18,742.38

 

Date Check No Amount Date Check No Amount Date Check No Amount

 

 

 

07/09 649 71.33 07/02 1031 * 176.32
07/09 650 * 306.18 07/31 1033 241.32
* Indicates a Gap in Check Number Sequence

    

Date Description Amount

07/03 Withdrawal 3,971.00
07/07 Withdrawal : , 13,350.00
07/09 Withdrawal 2,193.00
07/13 Withdrawal 2,566.00
07/13 Withdrawal , 10,341.00
07/15 Commercial Service Charge , 21.95
07/16 Withdrawal . 6,000.00
07/16 Withdrawal 15,272.00
07/22 Withdrawal 16,444.00
07/24 Withdrawal 3,321.00
07/24 Withdrawal . 7,007.00
07/29 Withdrawal 3,213.00

07/29 Withdrawal 19,806.00
MGMCSTMTN 200801 -19659-0002

Date
07/02
07/03
07/07
07/08
07/13

Case:20-01947-jwb Doc #:327-3 Filed: 09/23/2020 Page 38 of 71

 

42,122.08
38,151.08
24,801.08
22,230.57
9,323.57

Balance

BARFLY VENTURES, LLC
BARFLY SITE CHECKING
35 OAKES ST SW STE 400
GRAND RAP DS, MI 49503

Date
07/14
07/15
07/16
07/22
07/24

39,323.57
39,301.62

18,029.62 ~

41,585.62
31,257.62

Balance

Page: 2 of 2
Statement Date: 07/31/2020
Primary Account: XXXXXX4153

     

Date Balance
07/28 50,000.00
07/29 26,981.00
07/31 26,739.68
Case:20-01947-jwb Doc #:327-3 Filed: 09/23/2020 Page 39 of 71

      

Statement Ending Balance 942.40

 

Deposits in Transit 196,006.60
Outstanding Checks and Charges ~198,719.46
Adjusted Bank Balance 177,223.40
Book Balance : 177,223.40
Adjustments* : , b.68
Adjusted Book Balance 197,223.46
Tatal Checks and Charges Cleared 269.60 Total Deposits Cleared B.60
Deposits
N

    
  

         

General Ledger Entry

Site Checking 06/23/2020 60,000.00
General Ledger Entry Mercantile S te Checking Transfer 06/30/2020 60,000.00
General Ledger Entry PNC, Chemical and uS Bank Transfer 87/14/2020 39,000.00
General Ledger Entry ’ Mercantile $ te Checking Transfer 07/22/2020 40,000.00
Fotal Deposits ee O.00 190,000.00

Checks and Charges

  

   

Feel Goad Tap 08/22/2018 Bit 289.00

Michigan State University 01/25/2020 4533 15.90
Westnurt Regional Business League 02/06/2020 B49 250.08
Samer Orow 06/01/2020 524 286.00
National Wine _ Spir ts 06/11/2620 48 172,00
Midwest Food Equipment Serview Inc. 06/11/2020 649 F133

Looking Glass Brawing Co. 06/11/2020 1534 390.06
Brewery Faisan 05/12/2026 525 330.00
General Ledger Entry Negative Deposit - HCEL 86/15/2020 eft 4,308.00
General Ledger Entry Negative Deposit - HCKZ 66/25/2020 aft 9,437.00
General Ledger Entry Negative Deposit - HCBEL 96/26/2020 aft 7,600.06
General Ledger Entry Negative Deposit - HCHOL 86/18/2020 aft 2,400.90
National Wine _ Spirts 06/18/2020 17214 172.56
General Ledger Entry . Negative Deposit - HCGR 06/19/2020 eft 2,608.08

General Ledger Entry _ Negative Deposit - HCKZ 06/21/2020 oft 10,561.00
Case:20-01947-jwb Doc #:327-3 Filed: 09/23/2020 Page 40 of 71

General Ledger Entry Negative Deposit - GRBC 06/21/2020 eft 2,669.00
General Ledger Entry Negative Deposit - HCBEL 06/21/2020 eft . 5,600.00
General Ledger Entry Negative Deposit - HCGR 06/22/2020 eft - 2,440.00
’ General Ledger Entry Negative Deposit - HCHOL 06/23/2020 eft 2,520.00
General Ledger Entry _ Negative Deposit - HCEL 06/25/2020 eft 5,000.00
General Ledger Entry Negative Deposit - HCEL 06/25/2020 eft 2,794.00
Rotella's Italian Bakery, Inc. 06/25/2020 1031 176.32
General Ledger Entry Mercantile S te Checking Transfer 06/29/2020 . 50,000.00
General Ledger Entry Mercantile Monthly Site Checking Bank Charges - P7 202 07/15/2020 ‘ eft 21.95

Total Checks and Charges 269.60 108,719.00
MGMCSTMTN 200801-10455-0001

Case:20-01947-jwb Doc #:327-3 Filed: 09/23/2020 Page 41 of 71

5610 Byron Centar Ave. SW
Wyoming, Mi 49519

 

Return Service Requested

Mercantile

Bark of Michigan pee 07001

BARFLY VENTURES, LLC
FSA CHECKING

35 OAKES ST SW STE 400
GRAND RAPIDS, MI 49503

COMMERCIAL ANALYSIS CHECKING ACCOUNT

06/30/20 . 07/31/20

Page: 1 of 1
Statement Date: 07/31/2020
Primary Account: XXXXXX0888
Documents: 0

Period: 06/30/20 to 07/31/20

<T> 30-0

Account: XXXXXX0888

 

 

  

ES

Date Description

07/15 Transfer From Coml Analysis Ck Account 4777
07/17 Transfer From Coml Analysis Ck Account 4777
07/22 Transfer From Coml Analysis Ck Account A777

 
 

Date Description
07/15 Commercial Service Charge
07/15 Commercial Service Charge
07/15 Commercial Service Charge

07/17  Infinisource Inc Claim Fund
07/22 Infinisource Inc Claim Fund

  

 

Date Balance | Date Balance

 

 

Amount
17.30
67.77
68.68
35.00

140.00

 

ate Balance
Case:20-01947-jwb Doc #:327-3 Filed: 09/23/2020 Page 42 of 71

   

Statement Ending Balance ~ —_ 35.00
Deposits in Transit . 5,068.82
Outstanding Checks and Charges -4,928.82
Adjusted Bank Balance 175.00
Book Balance 175.00
Adjustments* 0.00
Adjusted Book Balance . 175.00

Total Checks and Charges Cleared 153.75 Total Deposits Cleared 188.75
Deposits

     
 
   

General Ledger Entry Interco CASH /02/2020 140.00
General Ledger Entry Interco CASH 03/03/2020 12.75
General Ledger Entry Interco CASH . 03/04/2020 461.00
General Ledger Entry Interco CASH 03/05/2020 292.00
General Ledger Entry Interco CASH 03/06/2020 109,25
General Ledger Entry Interco CASH 03/10/2020 19.15
General Ledger Entry Interco CASH 03/11/2020 285,00
General Ledger Entry Interco CASH 03/13/2020 200.00
General Ledger Entry, Interco CASH 03/16/2020 26.14
General Ledger Entry Interco CASH 03/17/2020 21.00
General Ledger Entry Interco CASH 03/18/2020 140.00
General Ledger Entry Interco CASH 03/19/2020 11.25
General Ledger Entry Interco CASH 03/20/2020 366.26
General Ledger Entry Interco CASH 03/23/2020 o, 256.00
General Ledger Entry Interco CASH 03/24/2020 306.00
General Ledger Entr, Interco CASH 03/25/2020 , . . 8.00
General Ledger Entry Interco CASH 03/27/2020 290.00
General Ledger Entry Interco CASH 04/01/2020 eft 202.50
General Ledger Entry Interco CASH 04/02/2020 : eft 207.50
General Ledger Entry Interco CASH 04/03/2020 eft 139.80
General Ledger Entry Interco CASH 04/07/2020 eft 76.00
General Ledger Entry Interco CASH 04/08/2020 eft 48.00

General Ledger Entry Interco CASH 04/10/2020 eft : 450.00
Case:20-01947-jwb Doc #:327-3 Filed: 09/23/2020 Page 43 of 71

General Ledger Entry Interco CASH 04/13/2020 eft $0.00
General Ledger Entry Interce CASH 04/14/2020 eft 640.77
General Ledger Entry Interco CASH 04/15/2620 eft 20.45
General Ledger Entry Interco CASH 04/16/2020 ef 246.86
General Ledger Entry Interco CASH 67/15/2020 aft 153.75

General Ledger Entry Interco CASH 07/17/2020 aft 35.00

General Ledger Entry Interce CASH 07/22/2020 eft 248.06
Total Deposits SES 6a

Checks and Charges

 
  

 

  

General Ledger Entry Amount that will dear in March 03/01/2020
General Ledger Entry PSA ME Adjustment P5 2020 _ 05/24/2020

General Ledger Entry FSA Separate Bank Charges P7 2020 87/15/2020

  

General Ledger Entry FSA Separate Bank Charges P7 2620 07/25/2020" 87.77
General Ledger Entry FSA Separate Bank Charges P7 2020 07/35/2020 68.68
Total Checks and Charges 153.75 4,328.82
MGMCSTMTN 200801-19687-0001

Case:20-01947-jwb Doc #:327-3 Filed: 09/23/2020 Page 44 of 71

5610 Byron Centar Ave. SW
Wyoming, Mi 49519

 

Return Service Requested. Page: 1 of 1
*E wat Statement Date: 07/31/2020
Mercantile Soro Primary Account: XXXXXX6311
Documents: 0

Period: 06/30/20 to 07/31/20

. E
BARFLY VENTURES, LLC <T> 30-0
35 OAKES ST SW STE 400 0
GRAND RAPIDS, MI 49503 0

 

 

BUSINESS MONEY MARKET ACCOUNT Account: XXXXXX6311
poten an a _— aa
a
06/30/20 . 07/31/20 . 0.02 (1) 12.00 (1)
Minimum Balance 371.96
- Avg Available Balance 371.96
Average Balance 371.96

   
  

       

Date Description Amount
07/31 Interest 0.02

 

Date Description Amount

07/31 Service Charge 12.00

  

 

Average Ledger Balance: 371.96 . Interest Earned: 02

Average Available Balance: 371.96 Days In Period: 31
Interest Paid This Period: .02 Annual Percentage Yield Earned: .06%
Interest Paid 2020: 888.95

 

Total Charge For Maintenance Fee: 12.00

    

ate Balance ate Balance Date Balance

 
Case:20-01947-jwb Doc #:327-3 Filed: 09/23/2020 Page 45 of 71

   

 

Statement Ending

 

Deposits in Transit

 

Outstanding Checks and Charges , 6.00
Adjusted Bank Balance 122.66
Sook Balance 212.66
Adjustments* 8.08
Adjusted Book Balance , Tze

Total Checks and Charges Cleared 6.00 Total Depesits Cleared 6.80
Deposits

 
 

 

 

Fatal Deposits 8.00 6.08

Checks and Charges
MGMCSTMTN 200801 -21735-0001

Case:20-01947-jwb Doc #:327-3 Filed: 09/23/2020 .Page 46 of 71

5610 Byron Center Ave. SW
Wyoming, tdi 49612

 

Return Service Requested Page: 1 of 1
#F ge Statement Date: 07/31/2020
Mercantile Boros Primary Account: XXXXXX6926
Documents: 0

Period: 06/30/20 to 07/31/20

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BARFLY VENTURES, LLC <T> 30-0
35 OAKES ST SW STE 400 0
GRAND RAPIDS, MI 49503 0

 

 

BUSINESS MONEY MARKET ACCOUNT Account: XXXXXX6926
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se ! 3 . a otal ¢ ss
06/30/20 30,020.80 07/31/20 30,022.07 1.27 (1)
Minimum Balance 30,020.80
Avg Available Balance 30,020.80
Average Balance 30,020.80

 
 

 

Date Description : Amount
07/31 Interest / 1.27

 

Average Ledger Balance: 30,020.80 Interest Earned: 1.27
Average Available Balance: 30,020.80 Days In Period: 31
Interest Paid This Period: 1.27 Annual Percentage Yield Earned: 05%
‘Interest Paid 2020: 17.14

 
   

ate Balance — — Balance ate ~ Balance
07/31 30,022.07
Case:20-01947-jwb Doc #:327-3 Filed: 09/23/2020 Page 47 of 71
Corporate Business Account Statement

 

Page 1 of 2
Account Number: J§-9371

For the period 07/01/2020 to 07/31/2020

Number of enclosures: 0

BARFLY VENTURES LLC Tax ID Number: XX-XXXXXXX
DEBTOR IN POSSESSION = For Client Services:
35 OAKES ST SW STE 400 Call 1-800-669-1518

GRAND RAPIDS MI 49503
BB Visit us at PNC.com/treasury

® write to: Treas Mgmt Client Care
One Financial Parkway
Locator Z21-Yb42-03-1
‘Kalamazoo MI 49009

     

 

Account Summary Information _

   

 

Balance Summary
Beginning Deposits and Checks and Ending
balance other credits other debits balance
8,777.67 14,222.33 13,238.45 9,761.55

 

Cyber Security Awareness

Do you know what to do if you receive a fraudulent email, text or phone call that appears to come from PNC?
Forward the message to PNC at abuse@pnc.com. If you responded to a fraudulent text or email, clicked ona
link, opened an attachment and/or disclosed personal information, immediately change your online banking
password, using another device if possible. Then contact PNC Bank's Online Banking Team at 1-800-762-2035,
select_1 for personal account or 2 for a business account, then select option 3.

 

 

 

 

Deposits and Other Credits Checks and Other Debits

Description ltems Amount Description Items Amount
Deposits 1 532.20 | Checks 0 .00
National Lockbox 0 .00 | Returned Items 0 .00
ACH Credits 4 13,690.13 | ACH Debits 0 .00
Funds Transfers In 0 -00 | Funds Transfers Out 0 .00
Trade Services 0 .00 | Trade Services 0 -00
Investments 0 .00 | Investments 0 -00
Zero Balance Transfers 0 .00 | Zero Balance Transfers 0 .00
Adjustments 0 .00 | Adjustments 0 .00
Other Credits 0 .00 | Other Debits 6 13,238.45
Total 5 14,222.33 | Total 6 13,238.45
Ledger Balance

Date Ledger balance Date Ledger balance Date Ledger balance

07/01 8,777.67 07/10 4,500.00 07/27 4,532.20

07/02 6,777.67 07/15 7,500.00 07/29 10,000.00

07/08 4,777.67 07/17 7,532.20 07/31 9,761.55

Deposits and Other Credits

Deposits 1 twansaction for a total of $532.20

Date Transaction Reference
posted Amount description number

07/17 532.20 Deposit 003522924
Case:20-01947-jwo Doc #:327-3 Filed: 09/23/2020 | Page 48 of 71
Corporate Business Account Statement

BARFLY VENTURES LLC
DEBTOR IN POSSESSION

For the period 07/01/2020 to 07/31/2020

Account number: J§-9371

Page 2 of 2

 

Deposits and Other Credits continued

 

 

 

 

ACH Credits 4 transactions for a total of $13,690.13

Date Transaction Reference

posted Amount description number

07/10 2,722.33 Corporate ACH Achpayment 00020192904252118
Barfly Ventures 6315449

07/15 3,000.00 Corporate ACH Achpayment 00020197905610740
Barfly Ventures 6323815

07/17 2,500.00 Corporate ACH Achpayment 00020199902950997
Barfly Ventures 6336946

07/29 5,467.80 Corporate ACH Achpayment 00020211909938573
Barfly Ventures 6372005

Checks and Other Debits

Other Debits 6 transactions for a total of $13,238.45

Date Transaction Reference

posted Amount description number

07/02 2,000.00 Withdrawal 032554523

07/08 2,000.00 Withdrawal 030331171

07/10 3,000.00 Withdrawal 032522379

07/17 3,000.00 Withdrawal 003522922

07/27 3,000.00 Withdrawal 031285454

07/31 238.45 Corporate Account Analysis Charge 0000000000000047641

Member FDIC Equal Housing Lender
Case:20-01947-jwb Doc #:327-3 Filed: 09/23/2020 Page 49 of 71

 

 

Outstanding Checks and Charges §,08

Adjusted Bank Balance 430.86

Book Balance 430.60

Adjuctments* G.00

Adjusted Hook Balance 430.66
Total Checks and Charges Cleared 6.00 Total Deposits Cleared 6.00

J
Deposits

 
  
 

 

Total Deposits

 
 
 
 

Checks and

Total Checks and Charges

 
Case:20-01947-jwb Doc #:327-3 Filed: 09/23/2020 Page 50 of 71

Corporate Business Account Statement

For the period 07/01/2020 to 07/31/2020

BARFLY VENTURES LLC

 

Page 1 of 2

Account Number: J-9828

Number of enclosures: 0
Tax ID Number: XX-XXXXXXX

SITE LEVEL CHECKING = For Client Services:
DEBTOR IN POSSESSION Call 1-800-669-1518
35 OAKES ST SW STE 400

GRAND RAPIDS MI 49503-3137 & visit us at PNC.com/treasury

® write to: Treas Mgmt Client Care
One Financial Parkway
Locator Z1-Yb42-03-1
Kalamazoo MI! 49009

     

Account Summary Information

Balance Summary
Beginning Deposits and Checks and Ending
balance other credits other debits balance
13,465.01 29,511.99 27,012.33 15,964.67

 

. Cyber Security Awareness

Do you know what to do if you receive a fraudulent email, text or phone call that appears to come from PNC?
Forward the message to PNC at abuse@pnc.com. If you responded to a fraudulent text or email, clicked on a
link, opened an attachment and/or disclosed personal information, immediately change your online banking
password, using another device if possible. Then contact PNC Bank's Online Banking Team at 1-800-762-2035,
Select_1 for personal account or 2 for a business account, then select option 3.

 

 

 

 

 

Deposits and Other Credits Checks and Other Debits

Description Items Amount Description Items Amount

Deposits 0 .00 | Checks 0 .00

National Lockbox 0 .00 | Returned Items 0 .00

ACH Credits 4 29,511.99 | ACH Debits 0 .00

Funds Transfers In 0 .00 | Funds Transfers Out 0 .00

Trade Services 0 .00 | Trade Services 0 -00

Investments 0 .00 | Investments 0 .00

Zero Balance Transfers 0 .00 | Zero Balance Transfers 0 .00

Adjustments 0 .00 | Adjustments 0 .00

Other Credits . 0 .00 | Other Debits 8 27,012.33

Total 4 29,511.99 | Total 8 27,012.33

Ledger Balance

Date Ledger balance Date Ledger balance Date Ledger balance

07/01 13,465.01 07/15 13,523.00 07/28 9,000.00

07/07 8,965.01 07/17 25,000.00 07/29 . 16,000.00

07/10 15,000.00 07/20 20,000.00 07/31 15,964.67

07/13 10,000.00 07/27 13,000.00

Deposits and Other Credits

ACH Credits 4 transactions for a total of $29,511.99

posted Amount _deserpion Renumber

07/10 6,034.99 Corporate ACH Achpayment 00020192904252120
Barfly Ventures 6315457

ACH Credits continued on next page
Case:20-01947-jwb Doc #:327-3 Filed: 09/23/2020 Page 51 of 71
Corporate Business Account Statement

BARFLY VENTURES LLC
SITE LEVEL CHECKING

For the period 07/01/2020 to 07/31/2020

Account number: —-9828

Page 2 of 2

 

Deposits and Other Credits continued
ACH Credits continued

4 transactions for a total of $29,511.99

 

 

 

Date Transaction Reference

posted Amount description number

07/15 5,000.00 Corporate ACH Achpayment 00020197905610742
Barfly Ventures

07/17 11,477.00 Corporate ACH Achpayment 00020199902950989
Barfly Venturesggiiaayrams

07/29 7,000.00 Corporate ACH Achpayment 00020211909938575
Barfly Venturer

Checks and Other Debits

Other Debits 8 transactions for a total of $27,012.33

Date Transaction Reference

posted Amount description number

07/07 4,500.00 Withdrawal 001595936

07/13 5,000.00 Withdrawal 004355666

07/15 1,477.00 Withdrawal 032863801

07/20 5,000.00 Withdrawal 005033621

07/27 5,000.00 Withdrawal 003958522

07/27 2,000.00 Withdrawal oossaa44s

07/28 4,000.00 Withdrawal 001569157

07/31 35.33 Corporate Account Analysis Charge 5000000000000047644

Member FDIC Equal Housing Lender
‘Case:20-01947-jwb Doc #:327-3 Filed: 09/23/2020 Page 52 of 71

  

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Statement Ending Balance 59,609.99
Deposits in Transit 36,443.06
Outstanding Checks and Charges 17,651.00
Adjusted Bank Balance 78,402.05
Book Balance 78,402.05
Adjustments* 0.00
Adjusted Book Balance 78,402.05

Total Checks and Charges Cleared 0.00 Total Deposits Cleared 16,477.00

Deposits

 

 

  
   

General Ledger Entry CASH DE 02/23/2020 283.00
General Ledger Entry CASH DEPOSIT HCSL 02/23/2020 112.24
General Ledger Entry Cash Depos t - HCDT 02/26/2020 69.50
General Ledger Entry CASH DEPOSIT HCKC 03/01/2020 182.00
General Ledger Entry Reversed -~- Negative Deposit - HCPSL In Trans 03/02/2020 1,008.00
General Ledger Entry Reversed -- Missing Deposit . 03/02/2020 2,432.00
General Ledger Entry CASH DEPOSIT HCKC 03/02/2020 260.00
General Ledger Entry CASH DEPOSIT HCAA 03/09/2020 351.50
General Ledger Entry CASH DEPOSIT HCSL 03/09/2020 104.00
General Ledger Entry CASH DEPOSIT HCMA . 03/16/2020 40.50
General Ledger Entry CASH DEPOSIT HCKC 03/16/2020 276.00
General Ledger Entry CASH DEPOSIT HCKC 03/17/2020 50.00
General Ledger Entry CASH DEPOSIT HCROY 03/17/2020 9.25
General Ledger Entry CASH DEPOSIT HCMA 03/18/2020 0.75
General Ledger Entry CASH DEPOSIT HCLEX 03/18/2020 9.00
General Ledger Entry CASH DEPOSIT HCKC 03/19/2020 17.00
General Ledger Entry PNC and US Bank Transfer 06/11/2020 7,500.00
General Ledger Entry CASH DEPOSIT HCDE 06/24/2020 23.00
General Ledger Entry PNC and US Bank Transfer 06/25/2020 7,500.00
General Ledger Entry PNC, Chemical and US Bank Transfer 07/09/2020 6,034,99
General Ledger Entry PNC, Chemical and US Bank Transfer 07/09/2020 2,722.33
General Ledger Entry CASH DEPOSIT HCAA 07/09/2020 1,958.00

General Ledger Entry PNC, Chemical and US Bank Transfer 07/14/2020 3,000.00
Case:20-01947-jwb Doc #:327-3 Filed: 09/23/2020 Page 53 of 71

General Ledger Entry PNC, Chemical and US Bank Transfer 07/14/2028

3,008.00
General Ledger Entry PNC, Chemical and US Bank Transfer 07/18/2020 2,500.00
General Ledger Entry PNC, Chemical and US Bank Transfer 07/16/2020 11,477.00
Total Deposits

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16,477.06 36,443.06

Checks and Charges

   
        

posit - in Trans 03/02/2620

2,131.06
General Ledger Entry Negative Depos £- HCAA 06/16/2020 5,568.00
General Ledger Entry Negative Depos t - HCDT 06/16/2020 3,500.00
General Ledger Entry Negative Depos t - HCDT 06/23/2026 2,000.50
General Ledger Entry Negative Depos t - HCAA 06/24/2020 4,506.00
Total Checks and Charges

6.00 47,653.00
CSbank.17 Doc #:327-3 Filed: 09/23/2020 Page 5Busitess Statement

 

Account Number:
P.O. Box 1800 S59
Saint Paul, Minnesota 55101-0800 Statement Period:
8830 MG s ¥  sToi Jul 7, 2620
mann through
dul 31, 2026
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Tig Page 1 of 3
FOPEEEE Eg gh] ho tfigg taf f040]] shy Ui gegl gf pefflacdefad hi beeeff]
SOD80TSES 01 SP 0.560 000838530257274 P Y .
HOPCAT LINCOLN LLC s To Contact U.S, Bank
C/O BARFLY VENTURES LLC .
35 OAKES ST SW STE 400 Commercial Customer
GRAND RAPIDS MI. 49503-3137 Service: 4-886-822-4506
U.S. Bank accepts Relay Calls
internet: usbank.com

 

 

 

  

 

 

 

Account Summary
# Items
Beginning Balance on Jul 1 $ 10,000.00
Other Deposits 2. 12,296.75
Other Withdrawals 4 12,296.75-
Ending Balance on Jul 34,2020 $ 10,000.00
Other Deposits.
Date __ Description of Transaction . : Ref Number Amount

 

 

Jul 17 Electronic Deposit From Barfiy Ventures $ 6,531.75

   
 
 

 

 

Total Other Deposits $ 12,296.75

 

 

       

 
 
 
 

  
 

    
 
 
 
 

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Other Withdrawais

Date __ Description of Transaction Ref Number Amount
Jul 2 Customer Withdrawal 8954492028 _4,000.00-
Jul 14 “Analysis: Sewice- Charge oodacese mY
Jul. 14 Customer Withdrawal

3356029294

      

 
 

Total Other Withdrawals $ 42,296.75-

 

 

Balance Summary

Date Ending Balance Date Ending Balance Date Ending Balance
Jul 2 6,000.00 Jul 17 7,500.00 Jul 29 410,000.00
Jul 14 968.25 Jul 24 4,235.00

Balances only appear for days reflecting change.

  

 

 

Account Analysis Activity for: June 2020
Account Number: Rs 959 ; 3 31.75
CSDanikK:: 9 LomNit@27-3 Filed: 09/23/2020 Page 55giisitess Statement
—_- 8 iO BARFLY VENTURES LLC

35 OAKES ST SW STE 400 Account a ee
GRAND RAPIDS MI 49503-3137 |

Statement Period:

through

Jul 34, 2020
be Page 2 of 3
Analysis Service Charge assessed to

Service Activity Detail for Account Number [S-8959

  
    

 

 

 

 

 

 

 

   
      

 

 

 

Service Volume Ave Unit Price Total Charge
Depository Services
Combined Transactions/items 3 No Charge
Subtotal: Depository Services §.06
SinglePaint
opty pend 985
“OE Ne Charge.
Subtotal: SinglePoint 15.35
Branch Coin/Currency Services

  
 

_., Currency Ordered-per Strap
- Loose. Currency Ordered/$100

Subtotal: Branch Coin/Currency Services _

      

Fee Based Service Charges for Account Number F-3959
TES ania 019s eer peace 2 Filed: 09/23/2020 Page 5éatisidess Statement
2. C/O BARFLY VENTURES LLC

ceo tl :
35 OAKES ST SW STE 400 Account Number:

GRAND RAPIDS Ml 49503-3137 ME 8°59

 

Statement Period:
Jul 1, 2026

' through

Jul 34, 2020

 

Page 3 of 3

 

 

 

 

 

 
   
  

 

   

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* Gap in check sequence

5,000.00

NSEGLAOS abe G4, OOO OO RS6DE8G5 205 BS, 265.00
occa Jul o2 4,000.06 8000° Jul 24 3,265.00
COUMTER WITHDRAWAL (Sbank
Case:20-01947-jwb Doc #:327-3 Filed: 09/23/2020 Page 57 of 71

   

 

Statement Ending Balance 33,400.73
Deposits in Transit 45,830.02
Outstanding Checks and Charges : -36,020.95
Adjusted Bank Balance 45,209.88
Book Balance 45,208.80
Adjustments* 6.00
Adjusted Book Balance , 45,208.80

Total Checks and Charges Cleared 9.00 Total Deposits Cleared 6,563.50
Deposits

 
 
 
 

     

   

ate

05/06/2020

    

ger Entry nk Transfer 28,500.00
Genera} Ledger Entry PNC and US Bank Transfer 06/16/2020 7,506.00
General Ledger Entry PNC and US Bank Transfer 06/25/2020 9,817.02
General Ledger Entry CASH DEPOSIT HC-LIN 07/07/2020 23.00
Ganeral Ledger Entry US Bank Fees ~ P7 2020 07/14/2020 BLISS
General Ledger Entry PNC, Chemical and US Bank Transfer 07/16/2020 6,531.75
Totat Deposits 8,563.50 45,83008

Checks and Char

       

General Ledger Entry PNC and US Bank Transfer 64/08/2020 28,500.68
General Ledger Entry US Bank Fees - PS 2020 asf 1472020 20,95
General Ledger Entry Negative Depos t - HCLN 86/23/2020 7,500.00

sniounasasinnniiihianennnnahnuntsintiniicinttiis
Total Checks and Charges 0.06 36,820.95
Case:20-01947-jwb Doc #:327-3 Filed: 09/23/2020 Page 58 of 71

CHEMICAL
BANK

 

 

Last statement: June 30, 2020
This statement: July 31,2020)
otal days in stalement period: 3

Page }of2

 

 

 

 

 

 

 

 

 

$27 628.87
45 446

 

 

 

39,906.00
Case:20-01947-jwb Doc #:327-3

Filed: 09/23/2020

Page 59 of 71

 

 

 

BARFLY VENTURES, LLCO Page 2 of 2
July 34, 2020 XXXXXX5015
OVERDRAFTIRETURN ITEM FEES
Total for Total
this period yearto-date
Total Overdraft Fees $0.00 $0.00
Total Returned item Fees $0.06 $0.00

 

 

 

 

 

Thank you for banking with Chemical Bank
Case:20-01947-jwb Doc #:327-3 Filed: 09/23/2020 Page 60 of 71

   

Statement Ending Balance

 

9,906.00
Deposits in Transit 6.00
Outstending Checks and Charges ~F.14
Adjusted Bank Balance 3,898.86
Book Balance 8,898.86
Adjustments* 6.008
Adjusted Book Balanve 9,898.86
Fatal Clerks and Charges Cleared 76,674.99 Total Deposits Cleared 47,811.58
Deposits

   

 
 
     

07/14/2020 17,811.58

‘se esanainnanapananunssniennosesniisnemaanainiis
Fotal Deposits 17,822.58 0.00

Checks and Charges

        

General Ledger Entry6.30,20 GP Paymient 06/29/2025 ef = 35,140.45
General Ledger Entry ACH Debit - DTE Energry SMM 07 71272020 7.14
General Ledger Entry 7.15.20 GP Payment 07/24/2020 att 35,440.45
General Ledger Entry Chem cal Bank.*5015 Bank Fee 07/16/2028 $4.00
Total Checks and Charges 70,674.90 FAs
Case:20-01947-jwb Doc #:327-3 Filed: 09/23/2020 Page 61 of 71

 

 

  

 
  
     

800.867 D787 Last statement: June 20, 2020
This statement: July 31, 2020
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Page 1 of 2

 

 

 

 

 

Low balance
Average balance
interest paid year to

 

 

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Analysis Activ
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Payroll
67-167 Kray gis Mesults Chg

 

 

 

 

"Interest Payment 1944-74
Ending totals 41,944.74

A
07-31

        

 

5025 464.45 $3,673,903.34

 
Case:20-01947-jwb Doc #:327-3

Filed: 09/23/2020 Page 62 of 71

 

 

 

BARFLY VENTURES, LLC Page 2 of 2
July 34, 2020 XAXAKX7 488
INTEREST INFORMATION
Annual percentage yield earned 0.46%
interest-bearing days 31
Average balance for APY $5,053,345.58
interest earned $1,944.74
OVERDRAFTIRETURN (TEM FEES
Total for Total
this period year-to-date
Total Overdratt Fees $0.00 $0.00
Total Returned iter Fees $0.00 $0.00

 

 

 

 

 

Thank you for banking with Chemical Sank
Case:20-01947-jwb Doc #:327-3 Filed: 09/23/2020 Page 63 of 71

   

ement Ending Balance

Deposits in Transit

 

Outstanding Checks and Charges

 

.80

Adjusted Bank Balance 3,673,903,.34
Book Balance 3,673,9603.34
Adjustments* 8.08
Adjusted Book Balance 3,673,963.24
Tatal Checks and Charges Cleared 2,623,464.49 Total Deposits Cleared 3,272.89

Deposits

   
     

General Ledger Entry Chem st % 3,327.15
General Ledger Entry Cherm ral Interest 67/31/2020 1,944.74
Total Deposits : Bev L.a9 585

Checks and Charges

   
    

     

jer Entry Chem cal Bank *7488 Bank Fee 07/16/2026

30.06
General Ledger Entry Chem cai Bank Transfer 87/16/2020 241,958.91
General Ledger Entry Chem cal Bank Transfer 07/23/2020 1,781,575.58
Total Checks and Charges

sana enimaineneNeR
2,023,464.49 8.00
Case:20-01947-jwb Doc #:327-3 Filed: 09/23/2020 Page 64 of 71

 

   

  
  

  

48640-0520

800.867.9757 Last statement: June 30, 2020

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Page 1 ofS

 

 

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Low balance
Average balance

 

Bate Description
06-30 ~ Beginning balance
67-63
Case:20-01947-jwb Doc #:327-3 Filed: 09/23/2020 Page 65 of 71

 

 

 

 

 

 

 

 

 

 

 

 
Case:20-01947-jwb Doc #:327-3 Filed: 09/23/2020 Page 66 of 71

 

BARFLY VENTURES, LLC

Page years

 
     

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
Case:20-01947-jwb Doc #:327-3 Filed: 09/23/2020 Page 67 of 71

 

BARELY VENTURES: LLC
July 37, 2620

 

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Case:20-01947-jwb Doc #:327-3 Filed: 09/23/2020 Page 68 of 71

 
Case:20-01947-jwb Doc #:327-3 Filed: 09/23/2020 Page 69 of 71

 

 

Deposits in Transit 3.00
Outstanding Checks and Charges -257,236.63
Adjusted Bank Balance : 2,362,052.96
Book Balance 1,362,095 2.96
Adjustments* 0.00
Adjusted Book Balance 4,362,052.96

Total Checks and Charges Cleared 1,024,204,38 Total Denasits Cleared 2,843,487.37
Deposits

 
  
 

 

         

» Chemical and US. Bank Transfer 06/26/2025 70 O

Genera! Ledger Entry PNC, Chemical and US Bank Transfer G6/2972020 295,000.00
General Ledger Entry PNC, Chemical and US Bank Transfer 07/07/2620 50,000.00
General Ledger Entry PNC, Chemical and US Bank Transfer 07/09/2020 30,000.00
General Ledger Entry PNC, Chemical and US Bank Transfer O77 14/2026 23,060.06
General Letiger Entry PNC, Chemical and US Bank Transfer 07/24/2020 75,008.06
General Ledger tntry Chem cal Bank Transfer 97/16/2020 241,858.91

: General Ledger Entry Chem cal Bank Transfer 07/23/2026 1,781,575.58
General Ledger Entry PNC, Chemical and US Bank Transfer 07/23/2020 86,000.00
General Ledodr Entry PNC, Chemical and US Bank Transfer 07/28/2020 60,000.00
General Ledger Entry Reverse Mark Sellers Pay from Payroll as he wanted paycar 07/31/2020 eft 4,052.88
Total Deposits : "2,643,487 47

Checks and Charges

 
 

      

Holland Board of Public Works 07/01/2020 eft 25.57
Holland Board of Public Works 07/01/2020 aft 241.78
DYE Energy 97/02/2020 eft 563.89
Consumer_s Energy 07/02/2020 ef 737.78
Consumer_s Energy 07/02/2620 aft 329.03
Consumer_s Energy : 97/02/2020 eft 1,141.83
Consumer_s Energy 07/02/2026 eft 870.86

Consumer_s Energy 87/02/2020 eft 18.87
Case:20-01947-jwb Doc #:327-3 Filed: 09/23/2020

Liberty Maynard LLC
General Ledger Entry PNC, Chemical and US Bank Transfer
DTE Energy ,
Consumer_s Energy

Consumer_s Energy

HC Woodward LLC

Lee Shore Enterprises

Cad Management, LLC

Board of Water Commissioners

Board of Water Commissioners

Utility Recovery Systems

Spire

Kentucky American Water

GTW Depot, LLC

A&G Partnership LLC

Columbia Gas

Lexington-Fayette Urban County Government
General Ledger Entry Chem cai Bank Transfer
Project 35 LLC

Champion Utilities Billing Serv ces

XCEL Energy

General Ledger Entry PNC, Chemical and US Bank Transfer
Lincoln Electr c Systems

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Lansing Board of Water and Light

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City of Ann Arbor

City of Grand Rapids Treasurer

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14,454.53
25,000.00
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40.34
78.20
40.16
47.89
17,928.27
17,517.01
227.06
13.97
17,811.58
4,333.33
532.68
1,585.23
241,858.91
623.21
293.77
253.06
3,779.08
539.07
298.03
670.53
37.48
382.38
2,694.03
1,354.73
405.51
318.63
471,81
2,271.40
24,427.99
27.24
35.05
4,261.91
4,699.04
5,944.05

10,514.69
Case:20-01947-jwb Doc #:327-3 Filed: 09/23/2020 Page 71 of 71

City of Grand Rapids Treasurer

City of Kalamazoo

City of Detroit-Property Taxes

City of Detroit-Property Taxes

City of Detroit-Property Taxes

Clty of Detroit-Property Taxes

City of Holland

City of East Lansing

ADP, LLC

Board of Water Commissioners

Board of Water Commissioners

Citizens Energy Group

Consumer_s Energy

Consumer_s Energy

Consumer_s Energy

Consumer_s Energy

Consumer_s Energy

DTE Energy

Indianapolis Power & Light Company

KU a PPL Company

Louisville Water Company

SEMCO ENERGY

Spire

Utility Recovery Systems

General Ledger Entry 7.31.20 GP Payment
Project 35 LLC ,

Lee Shore Enterprises

Liberty Maynard LLC

General Ledger Entry Payroll 8-3-20
GTW Depot, LLC

Cad Management, LLC

58 Ionia Holdings, LLC

JK East Beltline Real Estate

General Ledger Entry Payroll 8-3-20
General Ledger Entry Payroll 8-3-20
HC Woodward LLC

Geenen DeKock Properties, LLC

Tonia Ventures, LLC

58 Ionia Holdings, LLC

Total Checks and Charges

07/28/2020
07/28/2020
07/28/2020
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7,645.73
1,446.13
12,776.62
4,464.47
886.57
6,960.18
, 14,407.21
26,499.45
9,983.62
195.00
153.43
268.77
3,432.72
4,717.29
4,526.40
61.17
1,778.57
755.21
3,127.01
4,037.13
389,22
350.15
183.16
813.00
35,440.45
24,466.00
14,454.53
29,781.25
1,806.37
17,928.27
25,000.00
833.00
18,375.00
173,866.07
82,899.04
21,253.36
15,745.00
21,419.60
833.00

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1,024,204.38 257,230.03
